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UNITED STATES DISTRICT COURT SER OB ate

FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

Harold B. Cornish 2 .

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Plaintiff pvt Vin JURY TRIAL DEMANDED

V.

Lancaster Independent School District and/or Lancaster Independent School District Board of Trustees
Former Superintendent Larry Lewis (Individual and Official Capacity) Bp b y 7: 7
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Interim Superintendent Dana Marable (individual and Official Capacity} {
Human Resource Director Pamela Carroll (Individual and Official Ca SI oRTERNDISTRIGTOFTEXAS © “a
Assistant Superintendent Eugene Young (Individual and Official Capacity) FILED .
Attorney Cynthia Hill (individual and Official Capacity)

Former Student Psychologist Stanley Brein (Individual and Official Capacity)
Former Chief of Police Samuel Allen (individual and Official Capaci
Acting Police Chief Keith Wilkerson (Individual and Official Capacity
Attorney Leslie McColiom (Individual and Official Capacity)
Attorney John Peter Lund (individual and in Official Capacity)
Defendants

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Deputy

TO THE HONORABLE COURT, NOW COMES PRO SE PLAINTIFF Harold B. Cornish filing this Title VII of 1964 Civil
Rights Act and as amended complaint with the Court against the Defendant(s) Lancaster Independent School
District and/or Lancaster Independent School District Board of Trustees (sued in official capacity) and the
individually named Defendant Lancaster Independent School District (LISD) employees in their official and

individual capacity all are Defendants in this claim.

JURISDICTION
1. Jurisdiction is conferred upon this Court because Plaintiff Cornish alleges Defendants injured him by
violating his rights under federal laws and/or federal statutes and federal laws (1964 Civil Rights Act
and as amended Retaliation, 14"° Amendment, U.S. Code 1983, and U.S. Code 1985) according the
United States Code and or state statues.
2. Plaintiff anticipates that additional federal and state claims that are in the administrative process
{internally and/or with regulatory agencies) will be filed following the final disposition.

3. Plaintiff anticipates that he will later need to request for the Court to accept supplemental jurisdiction

over any and all state constitutional and state law claims that are so related to the claims (Whistle

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Blower Claims) within the original jurisdiction of this Court that they will form part of the same or

controversy but must be grieved administratively before bringing the claim(s) before the Court.
The incidents forming the basis of this lawsuit occurred in the City of Lancaster, Dallas County, Texas.

VENUE
Venue is proper in the United States District Court for the Northern District of Texas.

PARTIES
Plaintiff Cornish was an employee of Defendants Lancaster Independent School District and U.S. Army
Reservist residing at 601 Nora Lane DeSoto, Texas 75115 during the time periods surrounding this
lawsuit . The actions claimed by Plaintiff resulted during Plaintiff's employment with the Defendants
Lancaster Independent School District
All Defendants were either employed during the time periods alleged by Plaintiff in this lawsuit and/or
were involved adverse actions imposed on Plaintiff during the alleged incidents.
Defendant Lancaster Independent School District Board (are and were the policy making and enforcing
authority of Defendants during the time periods involving this claim), Lancaster Independent School
District Board of Trustees and Lancaster Independent School District Board of Trustees mailing address
is 422 S. Centre Avenue Lancaster, Texas 75146. This address is the official physical and mailing
address for the board of trustees who oversees the district.
Defendant Former Superintendent Larry Lewis at 422 S. Centre Avenue Lancaster, Texas 75146, now
an Assistant Principal for Cedar Hill School District. Was the Superintendent for Lancaster Independent
School District from November 2005 to November 2007. Is being sued individually and in Official
Capacity.
Defendant Lancaster Independent School District Interim Superintendent Dana Marable at 422 S.
Centre Avenue Lancaster, Texas 75146. Is currently the Interim Superintendent following
Superintendent Larry Lewis’s reign and was in 2009. Is being sued individually and in Official Capacity.
Defendant Lancaster Independent School District Assistant Superintendent Eugene Young at 422 S.
Centre Avenue Lancaster, Texas 75146. Was the assistant superintendent for Lancaster Independent
School District from November 2005 to November 2009. Is being sued individually and in Official
Capacity.

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Defendant Lancaster Independent School District Human Resource Director Pamela Carroll at 422 S.

Centre Avenue Lancaster, Texas 75146. Was the Human Resource Director for Defendants from
November 2006 to the present. Is being sued individually and in Official Capacity.

Defendant Lancaster Independent School District Attorney Cynthia Hill at 306 W. 7™ Street Suite 1045
Fort Worth, Texas 76102. Was employed with the Defendants as an attorney for the Defendants on or
about September 2007. Is being sued individually and in Official Capacity.

Defendant Lancaster Independent School District Attorney Leslie McCollom at 808 West Avenue
Austin, Texas 78701, Texas 75146. Was employed with the Defendants as an attorney for the
Defendants on or about January 2009. Is being sued individually and in Official Capacity.

Defendant Former Lancaster Independent School District Student Psychologist (NON -PH.D.) Stanley
Brein 405 Pecan Hollow Drive Red Oak Texas 75154-4725. Was employed as a student psychologist for
the Defendant and was employed during June 2006 and April 2009. Is being sued individually and in
Official Capacity.

Defendant Lancaster Independent School District Former Chief of Police Samuel Allen at 1653 S.
Duncanville Road Cedar Hill, Texas 75104. Is being sued individually and in Official Capacity.

Defendant Lancaster Independent School District Acting Police Chief Keith Wilkerson at 422 S. Centre
Avenue Lancaster, Texas 75146. Is being sued individually and in Official Capacity.

This is a employment retaliation and hostile work environment lawsuit under Title VI! of the 1964 Civil
Rights Act and as amended, U.S. Code 1983 14th Amendment and U.S. Code 1985 Conspiracy. The
time period of which the discrimination occurred has been continual since November 2006 prior to
several Plaintiff Cornish's military tours ranging from 4 days to 400 plus leave and re-adjustment back
into society. Therefore, Plaintiff Cornish pleads under the Soldier Sailor Act that the Court allows the
statute of limitation period to be extended due Plaintiff's constant and continual military obligation
from November 2006 to October 2009 of which involved actionable discrimination against the Plaintiff
imposed by Defendants Lancaster Independent School District and/or it's representatives. There are
Whistle Blower violations, USERRA and additional Title Vil violations (the additional Title Vil violations
occurring after late November 2009) that Plaintiff anticipate to amend the complaint later to add these
charges after the charges have proceeded through the administrative process whether internal or

external.

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Defendants Lancaster Independent School District Board of Trustees are the governing body of the

Lancaster Independent School District engaged in business commerce as a school district employing
more than 500 employees and formerly employed Plaintiff Cornish as a Police Officer and demoted
after Plaintiff returned from an active tour of military service from November 26, 2007 to January 12,
2009, Plaintiff returned to work and was never returned back to his rightful position, and status as a
police officer and Plaintiff alleges and re-alleges through this complaint the same. 25. The Plaintiff
Cornish also seeks damages against the Defendants in their individual and official capacity for their
willful and wanton violations of Plaintiff's rights under federal laws and/or statutes Title VII 1964 Civil
Rights Act (Retaliation for Plaintiff's engaging in protective activities opposing employment race
discrimination and/or retaliation against Plaintiff's and former employer. The Plaintiff anticipates later
amending this lawsuit by filing USERRA complaints , Texas Whistle Blower (Texas Government Code
ANN. 554) claims and additional Title Vil claims that will too address U.S. Code 1983, U.S. Code 1985
Conspiracy, U.S. 14 Amendment (due process) and other federal and state claims of injury.

The Plaintiff Cornish also seeks damages against the Defendants in their individual and official capacity
for their willful and wanton violations of Plaintiff's rights under federal laws and/or statutes Title VII
1964 Civil Rights Act (Retaliation for Plaintiff's engaging in protective activities opposing employment
race discrimination and/or retaliation against Plaintiff's and former employer. The Plaintiff anticipates
later amending this lawsuit by filing USERRA complaints , Texas Whistle Blower (Texas Government
Code ANN. 554) claims and additional Title Vil claims that will too address U.S. Code 1983, U.S. Code
1985 Conspiracy, U.S. 14th Amendment (due process) and other federal and state claims of injury. On
November 15, 2002, Plaintiff Cornish was initially hired by former Lancaster Independent School
District Police Chief Carl Headen as a police officer who worked for approximately 2 to 3 weeks.

On November 15, 2002, Plaintiff Cornish was initially hired by former Lancaster Independent School
District Police Chief Carl Headen as a police officer who worked for approximately 2 to 3 weeks.
Defendants Board of Trustees during a board meeting refused to approve the hiring of Plaintiff Cornish
with the former Board President Nannette Vick citing that Plaintiff had sued or was suing his former
employer Dallas Police Department for employment discrimination as defined by Title VII of the 1964
Civil Rights Act and as amended.

The lone opposing vote cast amongst the board members was that of then Board Vice-President

Carolyn Morris.

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24. The Dallas Equal Employment Opportunity Commission (EEOC) issued a favorable letter of

determination basing their ruling on the statement of the Board's Vice President Morris.

25. Plaintiff in November 2002 during his initial application for police officer with Defendants possessed a
4 year degree in Criminal Justice, 2 year degree in Liberal Arts (emphasis in Police Science, Texas
Commission on Law Enforcement Standards and Education (TCLOSE the state of Texas licensing
authority for all Texas Peace Officers) Master, Advance, Intermediate, Basic, and Instructors
certifications, over 20 years in law enforcement experience (ranging from jailer, patrolman, criminal
and administrative investigation, court room testimony, academy training, field training, community
relations, supervision etc., experience in dealing with and counseling troubled juveniles, more than 12
years in the U.S. Military Reserve as a commissioned officer and additional experiences. Plaintiff
Cornish's credentials far exceeded the minimum requirements for the entry level police position that
he applied for with Defendants and was not approved by the board.

26. The Defendants Board of Trustees were aware of the Plaintiff's professional credentials because they
were provided copies.

27. Defendant's former LISD Police Lieutenant Ryan Getty pursuant to orders of former LISD Police Chief
Carl Headen went to the City of Dallas premises and reviewed Plaintiff's entire personnel and
disciplinary files.

28. Defendant's former LISD Chief of Police Headen lied to the Texas Workforce Commission (TWC) in an
attempt to prevent Plaintiff from obtaining unemployment benefits Alleging that Plaintiff lied on his
application for employment by not sytating that he was fired by a previous employer Correctional
Services Corporation (Juvenile Correction Facility). It was determined by TWC that Plaintiff did not lie
on his application because Plaintiff did state on the application he was fired after he reported that a
coworker had injured a juvenile. Plaintiff was granted his unemployment benefits.

29. Plaintiff Cornish petitioned orally and by written petition for the Board of Trustees and the former
Interim Superintendent Thomas Poore to reconsider but neither the board of trustees or the Interim
Superintendent Poore moved on Plaintiff's Title Vil discrimination grievance petition and the grievance
was never heard.

30. Defendants during the time Plaintiff filed his discrimination petition with Defendants who had in place

a written policy prohibiting employment discrimination against applicants and employees whom have

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engaged in protective activities that opposed employment discrimination related to race discrimination

and/or Title VII.

Defendant's never heard or acknowledge the Plaintiff Cornish's verbal and/or written notice of
grievance complaint/petition.

January 13, 2003, Plaintiff Cornish then later filed a discrimination complaint with the Dallas U.S. Equal
Employment Opportunity Commission (Charge #310A300733) alleging discrimination based on
retaliation for Plaintiff's past participation in protective activities that opposed employment
discrimination based on race and age discrimination (40 and older).

May 28, 2003, Plaintiff appeared before the LISD Board of Trustees petitioning the LISD Board again
reconsider his hire in a retaliation and age discrimination complaints.

Defendants the Board of Trustees never addressed Plaintiff's internal discrimination grievance
complaint referencing the discriminatory hiring practices imposed on Plaintiff.

Around May 2005, prior to Defendant Sam Allen becoming Chief of Police he began phoning Plaintiff
advising Plaintiff Cornish that he was trying obtain the position of Chief of Police with the Defendants
and that he could use the fact that he could settle the Plaintiff's pending retaliation case as chief of
police. Allen initially suggested to Plaintiff a temporary position could be suggested by him to former
Superintendent Defendant Larry Lewis. Plaintiff advised him that he would only accept a permanent
position with some damages. Defendant Allen before his appointment and following his appointment
to chief of police met and phone Plaintiff several times to discuss possible settlement. Defendant Allen
advised Plaintiff that the Defendants LISD Officials realized that the Plaintiff had a good case against
them that could embarrass them and they did not want this case to go to court.

On November 8, 2005, after Plaintiff Cornish successfully settled his Title VII Retaliation employment
discrimination lawsuit (that followed after the Defendants refuse to approve Plaintiff for hire on or
about December 03, 2002) he filed against the Defendants by way of (U.S. Northern District Court of
Texas) Federal Court Ordered Mediation on Cornish (Plt) v. Lancaster Independent School District (Def)
Case # 3:04-CV-2368G.

The settlement agreement was signed by Plaintiff on November 20, 2005 and Defendant Lewis on
November 17, 2007.

immediately following Plaintiff's the mediation hearing which settled the case but just prior to

Plaintiff's November 8, 2005 hiring by the Defendants, Defendant Sam Allen Chief of LISD Police
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Department had Plaintiff meet Defendant LT Wilkerson at LISD Football Stadium where Chief Allen

introduced Plaintiff to Defendant Wilkerson, Defendant Allen suggested that the Plaintiff and the
Defendant Wilkerson ride on the Defendant’s golf cart and talk. Both Plaintiff and Defendant Wilkerson
complied.

While Plaintiff was riding with Wilkerson, Defendant Wilkerson advised Plaintiff that he had suggested
to Chief Allen that it would be political suicide for Chief Allen to recommend Plaintiff Cornish for hire
because Plaintiff had sued the Defendants, before Plaintiff had successfully settled the lawsuit.
Plaintiff informed Defendant Allen of the conversation that he had with Defendant Wilkerson and
Defendant Allen advised Plaintiff Cornish that Defendant Wilkerson was intimidated by Plaintiff
Cornish's experience and education and that Defendant Wilkerson should be because he lacks your
credentials, training, and skills for the job and that Defendant Allen's goal was to get them trained by
utilizing Plaintiff.

After Plaintiff was hired by LISD, day one Defendant Allen advised Plaintiff that the current LISD police
officers were overweight, possessed little are no college, lacked basic law technical skills, knowledge,
experience, and training. Defendant Allen informed Plaintiff that he needed Plaintiff on the
department to bring professional creditability to the department.

Defendant Allen advised Plaintiff that the LISD officers were in poor physical condition and appointed
Plaintiff to implement the Cooper Physical Fitness examination where Chief Allen ordered that all LISD
police officers would be consistently tested by Plaintiff until they passed the examination.

Defendant Allen advised Plaintiff Cornish that the lack of training, education and experience was
reflected on the officers TCLOSE training records.

The Texas Commission on Law Enforcement Officers Standards and Education (TCLOSE) have been the
licensing authority for all training and education for all Texas certified peace officers including LISD
police officers.

All LISD Police Officers training was reflected on their TCLOSE training transcript.

immediately following Plaintiff's Nobvember 8, 2005 hire, Defendant Allen advised Plaintiff that his
current staff lacked even basic skills of: citation writing, investigation, arrests, interviewing,

interrogation, penal code interpretation, problem resolution and report writing skills necessary to

conduct law enforcement functions and that he knew that Plaintiff possessed these skills based on

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Plaintiff's application, resume, and knowing that Plaintiff had served in numerous positions as a Dallas

Police Officer.

Defendant Allen referenced by name all his subordinate police officers (Keith Wilkerson, Eltoro Foster,
Melba Thorne, H. D. Gilliam, and Anthony Austin) when he advised Plaintiff Cornish of their lack of
training, experience, and education.

Defendant Allen informed Plaintiff that he was told by Superintendent Larry Lewis that the police
officers would not get any pay raises until they demonstrates that they are professionally competent
and that he needed Plaintiff to train them to that level. During Plaintiff's employment history with
Defendants, Defendant Allen on numerous different occasions restated the same to Plaintiff.

In a September 5, 2007, email sent by Plaintiff to Defendant Allen, Plaintiff would later remind
Defendant Allen of his previous assessments of LISD police officers as they were conveyed to Plaintiff
by Defendant Alten.

Prior to Plaintiff's hire he was aware of Defendants Allen and Wilkerson each being previously
terminated at least 2 different police agencies.

Defendants Allen and Wilkerson each have been previously terminated by at least 2 different police
agencies.

While employed by Defendants, Defendant Wilkerson advised Plaintiff that he was previously
terminated from both Cockrell Hill Police Department and Dallas County Constable’s Office.
Defendants Lancaster Independent School has never retaliated against Defendants Allen or Wilkerson
for any previous terminations.

Defendants have never rejected either Defendants Allen and/or Wilkerson for engaging in anti
employment discrimination activities.

Defendants Lancaster Independent School District historically after hiring police officers have never
took any adverse administrative employment action against Sam Allen, Keith Wilkerson, Raymond
Dyson, Cory Duncan, Melba Thorne, H. D. Gilliam, Anthony Austin citing in any manner as to whether
these officers engaged in protective activities opposed to discrimination under Title VII.

When Plaintiff was hired November 8, 2007, Defendant Allen advised Plaintiff that no Police Code of
Conduct, no police report tracking system, no one under his supervision with the investigative skills to
properly investigate and submit for prosecution a pending high profiled theft arrest case involving

employee Katrina Stephens. Defendant.

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immediately following Plaintiff's hiring of November 8, 2005, Defendant Allen assigned Plaintiff Cornish

to conduct the follow-up investigation for prosecution and Plaintiff Cornish successfully did so.
Defendant Allen advised Plaintiff that he feared that the 3 months following the arrest of Katrina
Stephens (prior to Plaintiff Cornish's November 8, 2005 hire) and no follow-up investigation of filing
the case with the Dallas District Attorney's Office could cause the case to be dismissed.

Defendant Allen was very critical of Officer Austin who only had less than a year experience, because
Defendant Allen believe that Austin's procrastination in not filing the Katrina Stephens case could have
embarrass the Defendants.

Plaintiff in the process informed Defendant Allen that this was an opportunity to train young officer
Anthony Austin who was initially assigned the Katrina Stephens case but did not have the knowledge or
experience to conduct the follow-up investigation.

The results of the investigation conducted by Plaintiff on the Katrina Stephens Theft case was an
indictment, conviction and court ordered restitution.

November December 2005, Plaintiff was given the duty by Chief Allen to create a report tracking
system for LISD Police Department. Plaintiff created a tracking system using a Micro Soft Excel
computer file.

Defendant Allen immediately implemented to report tracking system created by Plaintiff Cornish until
the Defendants purchased a professional computer tracking system.

Around December 2005, Defendant Allen introduced Plaintiff to the LISD High School Principal Randall
and Assistant Principal Roosevelt Nivens on different occasions advising that that Plaintiff had
successfully sued the Defendants for discrimination and was the reason Plaintiff was employed.
Defendant Allen around December 2005, advised Plaintiff to prepare to test all LISD police officers for
physical fitness and stated to Plaintiff Cornish that every police employee had to continue to take it

until they passed it..

. No LISD police officer passed the physical fitness evaluation but Plaintiff Cornish.
67.

In March 2006, Plaintiff Cornish was contacted by the Defendant Wilkerson who voiced concerns about
his inability to passed the physical fitness evaluation.
Plaintiff Cornish advised the Defendant Wilkerson that he needed to speak with Defendant Allen the

chief of police on the matter.

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69. Plaintiff informed the Defendant Wilkerson that pursuant to Defendant Allen's orders, "All LISD Police

Officers must take and pass the test.

70. Defendant Wilkerson, Allen, and all other LISD Police Officer never passed the physical fitness test.

71. Around January or February 2006, Plaintiff was assigned to the Junior High School and Defendant Allen
and when introducing the Plaintiff to Principal Stephanie Norman Defendant Allen advised Principal
Norman that Plaintiff had successfully sued Defendants LISD for discrimination and was hired.

72. Around January or February 2006 Defendant Allen assigned Plaintiff as the Junior Police Academy
Coordinator to teach students about law enforcement, citizenship, community relations etc .at the
Junior High School.

73. Plaintiff successfully executed his duties without incident and without any financial resources from
LISD for payment for supplies and equipment.

74. Plaintiff also was assigned the duty of teaching grades K-4 through 4th grade the Eddie Eagle Gun
Prevention Program.

75. Around March 2006, Plaintiff was given additional duties by Defendant Allen to investigate criminal
and administrative thefts of that led to the dismissal of several LISD custodian employees. Defendant
Allen advised Plaintiff Cornish that this was an opportunity to ensure thoroughness and build LISD
Police department's reputation as a competent law enforcement agency. Plaintiff successfully
completed all assignments without incidents.

76. Defendant Allen assigned Plaintiff Cornish to do motivational speaking to students about continuing
college education in the elementary through high schools.

77. Plaintiff was given additional duties by Defendant Allen of speaking to students about the military
because Plaintiff was and is a current Army Reserve Officer.

78. March 2006, Days following Plaintiff failing Defendant Wilkerson and all other LISD police officer on the
physical fitness test Defendant Wilkerson alleged Plaintiff was insubordinate. The reason was because
Defendant Wilkerson wanted Plaintiff to commit an unsafe act of leaving one female juvenile and
approximately 12 to 13 boys in a class room alone without any supervision which is a violation of policy
and Texas Education Agency Regulations.

79. Defendant Wilkerson was trying to get Plaintiff to make a morning meeting with other staff members.
Defendant Wilkerson advised Plaintiff to just leave the students that Plaintiff was teaching as the

Junior Police Academy Coordinator.

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80. In March 2006, the former Human LISD Resource Director Karla Brewer advised Plaintiff that it was

clearly a violation for an instructor to leave a class room of students unattended.

81. Defendant Wilkerson made no arrangements for anyone to come to the class room to relieve Plaintiff.

82. In an effort to comply with both Defendant Wilkerson command and consider the safety, welfare
according to the law and officers discretion Plaintiff marched the students to the school office and left
them there where Plaintiff made the meeting on time and was at least earlier than 2 to 3 other fellow
officers. Plaintiff explained this to Defendant Allen.

83. Defendant Wilkerson in the presence of Plaintiff made a false statement to Defendant Allen that
Plaintiff had questioned Defendant Wilkerson's authority on several occasions.

84. When Plaintiff asked Defendant Wilkerson to give specific incidents, defendant Wilkerson stated, "Oh
Boy,” "I knew you were going to ask that and | don't have specific.” "You know what they say if you
can't prove it then you should not state it.”

85. Plaintiff then stated to the Defendant Wilkerson that he was making false allegations against Plaintiff
to the top official (Defendant Allen) in the LISD Police Department and for no justifiable reason.

86. Defendant Wilkerson then stated that he retracted the statement.

87. Plaintiff was never disciplined on this incident.

88. The Plaintiff explained this to Defendant Allen who advised Plaintiff that no discipline was placed in the
Plaintiff's files.

89. Defendant Allen later advised Plaintiff Cornish that Defendant Wilkerson was intimidated by Plaintiff's
experience and credentials. Defendant Allen advised Plaintiff that Defendant Wilkerson had came to
Defendant Allen and asked what do he needs to do to reach the professional level of Plaintiff Cornish
and Defendant Allen advised Plaintiff Cornish that he informed Defendant Wilkerson that he needed
several years of law enforcement experience, college education improved writing skills, and other
technical skills needed in the law enforcement profession

90. Plaintiff requested that Defendant Allen stop bring up the fact that Plaintiff filed a lawsuit against the
Defendants and that the Defendant stop boasting Plaintiff's credentials before the Defendant
Wilkerson. Defendant Allen responded to Plaintiff Cornish, "Harold | have advised Keith that he is not
where you are professionally or educational wise and | will continue to do so because he needs to
understand that and work towards professional development. Plaintiff Cornish advised Defendant

Allen that this was causing Plaintiff to be targeted or retaliated against by Defendant Wilkerson and if

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Defendant Allen maintained his position he needed to assure Plaintiff Cornish that he would protect

him from retaliation. Defendant Allen affirmed that he understood.

91. Around April and May 2006 Defendant Allen had Plaintiff Cornish coordinate Junior Police Academy
Cadet (students) to participate in the May and November 2006 and May 2007 LISD Bond Election
Campaign Neighborhood Walk.

92. In late 2006 and Spring of 2007 Defendant Allen assigned Plaintiff to additional duties of assisting the
LISD Junior Reserve Officers Training Corps (JROTC) at the junior high and high school in their training.
Plaintiff successfully executed these assignments/duties without incident.

93. Around Spring 2006, Defendant Allen introduced Defendant Stanley Brein to the LISD Police
Department as the staff psychologist whose duties will be to assist the district in assessing students
behavioral problems.

94. Defendant Brein was licensed by the Texas Board of Psychological Examiners during his tenure with
LISD.

95. Defendant Brein from the time Defendant Allen introduced him to Plaintiff to September 2007 was not
licensed or qualified to evaluate police officers without the supervision of a senior properly licensed
psychologist.

96. Defendant Allen also advised Defendant Brein that Plaintiff had successfully sued and settled a
discrimination lawsuit against the Defendants LISD.

97. June 2006 Defendant Allen phoned Plaintiff while Plaintiff was on Army Reserve status and request
Plaintiff to assist LISD Officer Anthony Austin in filing a grievance on the pay raise. Defendant Allen
mention that it was not fair that LISD White Police Officer H. D. Gilliam who had far less training than
most of the police officers and did the same duties as the other police officers including Melba Thorne
a female officer but was paid approximately $10,000.00 more. Defendant Allen informed Plaintiff if
Plaintiff was asked if Allen spoke with Plaintiff to convey that we never had this conversation.

98. November and December 2006, Plaintiff on his own initiative successfully coordinated to feed 51
families for Thanksgiving and Christmas holidays in the Lancaster community as LISD Junior Police
Academy Coordinator.

99. Defendant Lewis’ email response to this was that it was "Outsanding”

100. September 2006, Plaintiff reported to LISD Custodian employee Larry Wall's home because he

had either lost or suspected his keys which unlocked the doors throughout LISD school property were

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stolen. Defendants Allen and Wilkerson advised the Plaintiff and other LISD Police Officers that this was

an opportunity for them to make overtime because the district had to be patrolled 24 hours a day
while the keys were missing. Defendant Wilkerson's remarks were, "I am going to milk them Muther
Fuckers for every dollar | can.”

101. By November 2006, Defendant Allen was advising the Plaintiff and other LISD Police Officers
during meeting that LISD staff member Mr. Lotten was criticizing LISD Police Department on overtime
used since September 2006. Defendant Allen advised that he promised Defendant Lewis that he would
lower the overtime.

102. Neither Defendants Allen or Wilkerson took any steps to re-schedule LISD Police Officers to
accommodate the promise Defendant Allen made to Defendant Lewis. Plaintiff brought this to the
attention of both Defendants Allen and Wilkerson to only be shunned and told that the overtime
would reduced.

103. As Defendants Allen and Wilkerson persistently ordered Plaintiff and officers to work
mandatory overtime due to the missing keys the Plaintiff and other LISD police officers continue to
work and submit time sheets. This was later discussed with Defendants Young and Human Resource
Director (HRD) Carroll by Plaintiff verbally and during the hostile work environment
complaint/grievance filed by Plaintiff.

104. November 2006 while Plaintiff was conducting military drill maneuvers Defendant Allen spoke
with Plaintiff by phone requesting when Plaintiff ended his daily tour military duties that the Plaintiff
report back to work each day and return to military duty in the morning. Plaintiff advised defendant
Allen that it was illegal to do so under the Uniform Military Justice Code.

105. November 2006, Defendant Allen and Defendant began making it mandatory for LISD police
officers to participate in the LISD Bond Election Campaigns by way of both verbal and written email
orders. This had also been done in May 2006. Plaintiff advised both Defendants Allen and Wilkerson
that it was improper to force this on public safety employees or any LISD employee without
compensation. Both Defendant Allen and Wilkerson advised Plaintiff that the orders would be followed
without compensation. Plaintiff complied and was the only LISD police officer to submit submitted
overtime sheets and was told again by Allen that the money would not be paid.

106. December 2006, Defendants Allen and Wilkerson came in a meeting with LISD police officers

demanding that the police officer substitute overtime for compensatory time. Defendant Allen state

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position was because he promised Defendant Lewis that he would reduce the overtime. Plaintiff

explained to both Defendants Allen and Wilkerson that the overtime was mandatory and that officers
had to be paid according to their choice of overtime and that the Plaintiff request would remain the
same to be paid in overtime. All other LISD police officers reduced their overtime and submitted
compensatory time sheets. This was later discussed with Defendants Young and Human Resource
Director (HRD) Carroll by Plaintiff verbally and during the hostile work environment
complaint/grievance filed by Plaintiff.

107. December 2006, while Plaintiff was at the LISD Junior High (Elsie Robertson), Defendant Allen
nearly pushed a class room door into the face of the Plaintiff as the Plaintiff while teaching a JPA class
was opening the door as he saw the Defendant Allen approach with Lancaster City Police Officers.

108. December 2006 during daily detail at the LISD police headquarters Plaintiff Cornish was told to
close the door during the meeting because of the loud voice from the JROTC Hall and when Plaintiff
complied Defendant Allen again attempted to push the back into the face of the Plaintiff. Plaintiff
made requests to Defendant Allen to speak with him because he suspected that Defendant Allen was
being hostile towards him but it was to no avail.

109. December 2007, Plaintiff transferred from an army military police unit to an army civil affairs
unit and explained to both Defendants Allen and Wilkerson that he would have to attend a mandatory
officer civil affairs school. Plaintiff reminded them on several different occasions.

110. Plaintiff during his employment with LISD a a police officer was placed in numerous situation
where he had to use reasonable force to restrain and or control LISD students Jamesha Jackson, Todd
Brown, Marquis Montgomery, Quacy Bell and other student who were either fleeing, resisting, injuring
themselves or others, and/or assaulting Plaintiff. Many of these student had displayed constant
disruptive behavior within the LISD. Plaintiff utilized all reasonable alternative measures on each
incident before escalating to physical force and only used the reasonable amount of force necessary to
cease any resistance. Plaintiff provided detailed written reports on each incident to both Defendants
Allen and Wilkerson.

111. January 2007 Defendant Allen, while Defendant Allen was introducing Plaintiff to the City of
Lancaster Police Chief in the main hallway of the LISD High School, Defendant Allen explained that
Plaintiff had successfully sued LISD and as Plaintiff was walking away the Defendant Allen slapped
Plaintiff with his open left hand on the back of the head. Plaintiff was embarrassed and just kept

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walking away. Plaintiff attempted on several different occasions to meet with the Defendant Allen on

this matter and the two incidents of which the Defendant Allen nearly slammed doors into Plaintiff's
face but it was to no avail. The Defendant Allen would not meet and discuss these matters with
Plaintiff and only showed an interest after Plaintiff began requesting to speak to Defendant Assistant
Superintendant Young on matters of public concern.

112. Defendants Lancaster Independent School District former Chief of Police Sam Allen did on or
about September 6, 2007, took adverse administrative action against Plaintiff (placing Plaintiff on
administrative leave) citing, “On November 8, 2005, you were hired by the Lancaster ISD Police
Department, in part to resolve a lawsuit you filed against the district. You were brought here with high
expectations as well as with warnings from others that | would regret hiring you. This was a chance for
you to get your career back on track and an opportunity for the district to gain an experienced officer.”

113. November 23, 2009, following several of Plaintiff's military tours on including the long tour of
Afghanistan from 2007 to 2009 and other military training or duty assignments October 30, 2009
Plaintiff filed a retaliation Charge with the Dallas U. S. EEOC Charge Number 450-2010-00754 and
received by U.S. mail his Right to Sue Letter on or about the 20" of January 2010, that was signed by
Dallas EEOC Director Michael C. Fetzer on 19" January 2010. The Plaintiff has filed this case within the
90 day time limit upon receipt of his Right to Sue Letter.

114. Defendant Allen was terminated for unrelated misconduct in 2008 while Plaintiff was on
military leave in Afghanistan.

115. Defendants Allen and Wilkerson alleged that Plaintiff had committed numerous violations of
LISD Police policies.

116. All allegations of which of which Defendants Allen and Wilkerson recommended Plaintiff for
termination were and are false and fabricated in retaliation for Plaintiff's filing prior employment
discrimination lawsuits against the Defendants and Plaintiff's military service (that will be amended
later in this claim along with additional Title VII claims). “

117. Defendants Allen and Wilkerson recommended that Plaintiff Cornish be terminated for
allegations of insubordination and excessive force against students.

118. Plaintiff was never terminated or discipline for any such violations recommended by
Defendants Allen and Wilkerson that were levied against Plaintiff prior to Plaintiff's Afghanistan Tour

from November 2007 and Plaintiff's return to work.

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Throughout Plaintiff's career with the Defendants LISD no matter what positive

accomplishments Plaintiff contributed to LISD, Defendant Allen always reminded Plaintiff that no one
like Plaintiff but they knew that Plaintiff knew how to do the job and that Plaintiff would stand up for
injustice.

120. Plaintiff was always told by Defendant Allen that there was no disciplinary action placed in the
Plaintiff's personnel files and Plaintiff reported this to Defendant HRD Carroll and Defendant Young
that Plaintiff was shocked that on or about September 6, 2007 that Defendants Allen and Wilkerson
were pulling out fabricated discipline and even just allegations in an effort to terminate Plaintiff in
retaliation for Plaintiffs engaging in prior protective activities against the Defendants LISD. Defendants
Carroll, Young, Hill, Lewis and later Marable all were aware of the direct evidentiary statement of
Defendant Allen’s (September 6, 2007 administrative leave letter) , disregarding the discrimination
complaints and hostile work environment complaints filed by Plaintiff and just went along just to get
along as LISD had done against Plaintiff in the past.

121. Plaintiff was always told by Defendant Allen that there was no disciplinary action placed in the
Plaintiff's personnel files.

122. On or about September 6, 2007, when Plaintiff was placed on administrative leave by
Defendants Carroll the Human Resource Director and Defendant Allen the Plaintiff in the presence of
Defendant Wilkerson and Plaintiff's witnesses Danny Lawson and William Cowley advised Defendant
Carroll that the Defendant Allen has always stated to Plaintiff that no discipline was ever placed in his
files. Defendants Allen and/or Wilkerson never contested this.

123. In the presence of Plaintiff witnesses Lawson and Cowley Plaintiff advised Defendant Carroll
then that he believe that he was being retaliated against both for filing a discrimination lawsuit against
the Defendants and because of his military obligations.

124. When Plaintiff hired on November 8, 2005 as a police officer with LISD Police Department
Plaintiff possessed: Bachelor’s Degree in Criminal Justice from Dallas Baptist University, an Associates
Degree in Liberal Arts (emphasis Police Science) from El Centro Community College, a Commission in
the U. S. Army, Certificate of Completion Army Military Police Officers basic and advance course,
military command experience, an Instructors Certification License from the licensing authority for
Texas Peace Officers, Texas Commission on Law Enforcements Officers Standards and Education

(TCLOSE), a Basic, Intermediate, Advance, and Master Peace Officers Certification from TCLOSE, over

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125.

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20 years of law enforcement experience ranging from civilian jailer experience, police community

patrol, investigations of various offenses and arrests from theft to capital murder etc.
Chief of Police Sam Allen introduced Plaintiff to his police staff telling the staff that Plaintiff had

successfully settled a discrimination lawsuit against the Defendants LISD and thus was hired.

126. Plaintiff in 2006-2009 conducted numerous tours of military training and deployments in

support of the Global War on Terrorism. Plaintiff requests that the dates of deployment and military
leave do not hinder the statute of limitation because both the Title VII and retaliation plead in this case
(EEOC Charge #450-2010-00754 filed November 23, 2009, Right to Sue received on January 19, 2010).
Personal Harm: Plaintiff alleges On/about September 7, 2007, Defendants Chief of Police Allen,
Lieutenant Wilkerson, and Human Resource Director Pamela Carroll placed the Plaintiff on
administrative leave from his commissioned police officer position. From November 26, 2007, through
January 12, 2009, Plaintiff was on military leave — active duty in Afghanistan (long tour). Plaintiff
reported to Defendant Carroll that he would return back to work on April 10, 2009. Defendant Carroll
kept Plaintiff on administrative leave from the administrative leave Plaintiff was placed on prior to
Plaintiff's Afghanistan tour. On/about May 11, 2009 was ordered back to work by Defendant Carroll
the Human Resource Director for the Defendants who temporarily assigned Plaintiff under her.
Defendant Carroll stated to Plaintiff until they decided what they were going to do with Plaintiff.
Plaintiff had advised Defendant Carroll the same as he advised her prior to his Afghanistan tour that
the charges brought by Defendants Allen and Wilkerson were fabricated due to retaliation for Plaintiff
suing LISD for discrimination and that it was stated so in Defendant Allen's September 6, 2007, letter

that Defendant Carroll provided to Plaintiff placing Plaintiff on administrative leave.

127. Plaintiff advised Defendant Carroll that he patiently awaited being returned back to his police

officer status or if the Defendants chose so an investigative position due to the fact that the

Defendants lacked a police officer with investigative experience.

128. In July 2009, Plaintiff was assigned as the LISD Truancy Officer and it was discussed with

Defendant Carroll possibly that Plaintiff would be the LISD Police and LISD investigator.

129. Plaintiff asked Defendant Carroll about removing the negative false retaliatory discriminatory

documentation from his files. Defendant Carroll advised Plaintiff that she would get with Attorney on
the matter, Defendant Carroll advised Plaintiff that the recommendations for discipline was null and

voided. Defendant Carroll stated that to police Department would maintain Plaintiff's police

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commission. Defendant Carroll than congratulated Plaintiff for his new assignment and Plaintiff

returned to his work area. Plaintiff was told that he would report to Carma Morgan as his immediate
superior when Plaintiff returned from military leave in late July or early August 2009.

130. Plaintiff immediately phoned Dallas independent School District Police Lt Calvin Howard, Dallas
Police Officer William Cowley, and CLEAT Attorney Rick Carter with the great news..

131. Plaintiff's initial conversation with Defendant Carroll was that Plaintiff would retain his police
credentials because Plaintiff was far the most experience and versatile police officer employed by the
Defendants.

132. When Plaintiff returned back from military leave in late July early August 2009, Plaintiff was
assigned and placed in a lower level position as a civilian Truancy Officer a clear demotion and nothing
as explained by Defendant Carroll during previous conversation. No reason was given for the demotion
to this day. Plaintiff believe that this was continual retaliation that was put in place by Defendant Allen
and Wilkerson.

133. in July 2009, Plaintiff pursuant to review of his personnel files through Defendant Carroll but in
the presence of Defendant Carroll’s secretary Mary Woodberry, Plaintiff observed printed emails
communication between LISD Attorney McCollom discussing Plaintiffs return from active duty, it was
apparent that Attorney McCollom and her office were not trying to advise the Defendants to rightfully
employ Plaintiff according to the law Title Vil and or USERRA (USERRA and additional EEOC charges will
be amended in this complaint at a later date). Defendant McCollom was conspiring with he Defendants
to further retaliate against the Plaintiff.

134. Plaintiff also observed a printed email from Defendant Wilkerson to Defendant Young
referencing that Defendant Wilkerson wanted to speak with Defendant Young about Plaintiff returning
to work before Plaintiff returned back to work. This too evidence that Defendants have collectively
engaged in conduct preventing Plaintiff from returning to his position as an LISD Police Officer because

of employment discrimination and retaliation as stated throughout this complaint.

135. Defendants historically denied Plaintiff any opportunities for job enrichment sponsored
training.
136. Defendants never paid for Plaintiff to attend any law enforcement sponsored training but did so

to all other LISD Police Officer.

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137. Plaintiff in emails communicated to Defendant Allen that he was being slighted by not being

sent to sponsored law enforcement training to include mandatory training to maintain his license.

138. Plaintiff had to maintain his training to keep police credentials on his on time and his TCLOSE
transcript reflect the same.

139. Defendant Carroll was provided copies of military and Master Level Colleges courses( taken by
Plaintiff without sponsorship of Defendants) by Plaintiff in 2009 to send to TCLOSE to be placed on
Plaintiff's training transcript and in an email from Defendant Carroll the Human Resource Director she
declined.

140. On/about November 4, 2009, Defendants Carroll emailed Plaintiff and Defendant Wilkerson
mailed Plaintiff (Certified U.S. Postage Mail Receipt #7006 0100 0005 2619 6159) the state governing
body Texas Commission on Law Enforcement Officers Standards and Education F-5 Commission
Revocation or Separation Form, separating Plaintiff's police commission from his employer LISD. The
form was marked and signed by Defendant Wilkerson that Plaintiff left in good standing and it was due
to Plaintiff's position being eliminated.

141. Defendant Carroll emailed Plaintiff a copy of the same F-5 form that Defendant Wilkerson
mailed Plaintiff (Certified U.S. Postage Mail Receipt #7006 0100 0005 2619 6159) which was the state
governing body Texas Commission on Law Enforcement Officers Standards and Education F-5
Commission Revocation or Separation Form, separating Plaintiff's police commission from his
employer LISD. The form was marked and signed by Defendant Wilkerson that Plaintiff left in good
standing and it was due to Plaintiffs position being eliminated.

142. Defendant LISD Board of Trustees are the governing authority that vote to approve and
eliminate public safety positions within the Lancaster Independent School District to including the LISD

Police Department.

143. Police Officers positions within the LISD are public safety positions.
144. Defendant LISD Board never approved the elimination of the Plaintiff's police position.
145. Defendant Wilkerson mailed the F-5 Form to the Texas Commission on LAW Enforcement

Officers Standards and Education (TCLOSE) as official notification of Plaintiff's position being

eliminated.

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146. Defendant McCollom, Wilkerson, Carroll, Marable, and Young all knew Plaintiff's police position

was not eliminated when Defendant Wilkerson falsified the state form, mailed it to TCLOSE and the
Plaintiff.

147. Defendants McCollom, Wilkerson, Carroll, Marable, and Young knew that the Defendants, LISD
Board of Trustees never eliminated the Plaintiff's police position prior to November 4, 2009, as dated
on the form submitted to Plaintiff by both Defendants Carroll and Wilkerson.

148, Defendant McCollom, Carroll, Wilkerson, Marable, and Young knew that there were no LISD
board minutes that showed that the Defendants LISD Board ever eliminated Plaintiff's police position
that led to Defendants Wilkerson and Carroll forwarding Plaintiff and TCLOSE the false F-5 Form.

149. Defendants Carroll and Wilkerson never to this date have correct the false F-S5 document that
was sent to Plaintiff and TCLOSE.

150. Defendant Carroll during a tape recorded meeting with Defendant Marable, Attorney Driskell
(administrative appeal attorney for Plaintiff), simply lied by stating that another or corrected F-5 Form
was sent to Plaintiff.

151. Respondents Reason for Adverse Action: Plaintiff was informed by Defendant Carroll and
former Chief Allen that Plaintiff was placed on administrative leave for numerous complaints.

152. Plaintiff was never disciplined for any of the complaints regarding the administrative leave
recommendations for termination of Defendants Wilkerson or Allen.

153. Defendant Lewis never terminated Plaintiff employment.

154. Discrimination Statement: Defendants retaliated against Plaintiff because Plaintiff had filed
previous EEOC Charges and lawsuit against Lancaster ISD and other employers. Since Plaintiff's date of
hire on November 8, 2005, Lancaster ISD has hired (2) other commissioned police officers who
currently are employed as commissioned police officers and are far less experience than Plaintiff. The
Officers are Duncan and Dyson. Plaintiff lost mandatory overtime, part time employment and other
benefits due to not being commissioned.

155. Defendant Allen on September 2007 when placing Plaintiff on administrative leave wrote,
“Officer Cornish: On November 8, 2005, you were hired by Lancaster ISD Police Department in part to
resolve a lawsuit you filed against the district. You were brought here by me with high expectations as

well as with warnings from others that | would regret hiring you.”

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156. The only prior lawsuit Plaintiff had filed against defendants LISD prior to this lawsuit was a Title

Vil employment discrimination (Retaliation) lawsuit.

157. Defendants McCollom, Hill, Carroll, Marable, Wilkerson, Brein, Young, and Lewis all knew that
Defendant Allen actins evidence direct discriminatory treatment towards Plaintiff that violated Plaintiff
rights guaranteed under federal law.

158. Plaintiff could not trust no one within LISD to process his grievance complaints due to the
history of Defendant Allen, Carroll, Young, Lewis, Marable, and the yes the LISD Board in turning their
head or ignoring Plaintiff's legitimate notice of grievance.

159. The September 6, 2007 administrative leave letter from Allen and Carroll to Plaintiff is direct
evidence of continual retaliation under Title Vil imposed on Plaintiff by Defendants where all
Defendant were aware or should have been aware of the statement of Defendant Allen by way of their
position and the hostile work environment complaint filed by Plaintiff against both Allen and Wilkerson
in September 2007 4 to 5 months after Plaintiff requested to meet with Defendant Young on issues of
public concern retaliation, discrimination, harassment and other violations committed by Allen and
Wilkerson by way of the color of their office.

160. Plaintiff's previous engagements in protective employment activities opposing employment
discrimination has been an issue and it is anticipated that the Defendants will bring these issues up
during trial that involved: EEOC charges and lawsuits involving Plaintiff's past employers (Lancaster
Independent School District, Dallas Police Department, and Correctional Services Corporation), past
potential employers (Dallas Independent School District on appeal before Sth Circuit Ct of Appeals,
Texas Department of Protective Services, and Texas Department of Criminal Justice) that the
Defendants will bring these protective activities to the attention of the Court. The Plaintiff is prepared
to tell his side of the stories on each protective engagement some successful and some unsuccessful,
but ail involved civil rights and/or federal laws and statutes involving Plaintiff individually as well as
part of a class of employees seeking redress from the U.S. Courts under the law.

161. Violation of Plaintiff's rights under U.S. Code 1985 Conspiracy when Defendants individually and
collectively discriminated and or retaliate against Plaintiff because of Plaintiffs participation in legally
challenging employment discrimination by placing Plaintiff on administrative leave in an attempt to
force Plaintiff to resign because of the Defendants amicus towards Plaintiff for conducting such

activities. Defendants the Board of Trustees, Former Superintendent Lewis, Former Police Chief Allen,

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Interim Superintendent Marable, Human Resource Director Carroll, Acting Chief Wilkerson, Attorney

Hill, and Brein all knew or should have known of Plaintiff's protective activity based on their positions
of responsibilities and acted in commission or omission collectively and individually to violated
Plaintiff's rights under Federal statutes and laws.

162. Violation of Plaintiffs rights under U.S. Code 1983 All Defendant imposed such conditions on
Plaintiff that violated Plaintiffs rights under federal laws and statues that a reasonable person would
have found their conduct pervasive ,arbitrary and capricious and would caused a reasonable person in
Plaintiff situation to leave and or fear termination

163. In June 2007 Defendant Allen and Defendant Brein both conspired to violate Plaintiffs privacy
and slander Plaintiff after Plaintiff Cornish reported to Defendant Allen that Plaintiff requested to
speak with Defendant Young on matters of public concern, Allen had Brein a licensed student (for
school kids only) psychologist conduct a secret illegal psychological evaluation with the intent of
portraying Plaintiff with an anger management with school age kids

164. Brein was not authorized to make such an assessment. Defendant Wilkerson and Allen had
placed Plaintiff in unsafe positions of responding to calls that involve two-man officer violence type
police incidents and/or calls and when Plaintiff utilized his experience, training and education in law
enforcement quell the incidents Defendants used this to destroy Plaintiff years of positive work with
juveniles that included work that Plaintiff performed for Defendants in caring, training and teaching
juveniles in LISD Junior Police Academy, JROTC, fitness training.

165. Defendants McCollom, Hill, Lewis, Carroll, Young and Marable knew of Wilkerson, Allen, and
Brein’s illegal motive and did nothing to remedy because Defendants wanted Plaintiff terminated
because Plaintiff engaged in protective activities against the Defendants and because Plaintiff was and
U.S. Army Reservist.

166. Defendant Brein initiated the illegal psychological evaluation without Plaintiff's consent.
Defendant Brien never met with Plaintiff to even discuss such an evaluation.

167. Defendants Allen and Wilkerson knew based on Plaintiff continual positive engagements and
interaction with the greatest resources of LISD the students and that Plaintiff only used reasonable
force when only necessary according to the law and policy. Defendant Wilkerson and Allen conducted
sham investigations against Plaintiff and Defendants Carroll and Young were made aware of the

missing and or lost documents to their sham investigations.

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168. September 4, 2009, , Defendant attorney Leslie McCollom lied to the Texas Attorney General

Office in writing that the evaluation that was conducted on Plaintiff was routine review on the
department when no other such evaluations were conducted and Defendant Brein was not qualified to
conduct such evaluation based on his experience, professional credentials and/or education under the
law.

169. Defendant LISD had no policy in effect that routinely or in any manner permitted Defendant
Brein to conduct any written unauthorized or unconsented psychological evaluation on any police
officer within LISD and Defendants McCollom, Young, Marable, Lewis, Hill, Carroll, Wilkerson and Allen
knew this was illegal are should have known based on their positions.

170. Defendant Brein released the illegal psychological evaluation without Plaintiff consent and
knowledge. Defendant s knew of this illegal activity or should know based on the fact that the
documents were in Plaintiffs personnel files that were released to Plaintiff by Defendant Carroll after
Plaintiff asked to review his files in June 2009, after Defendant Marable stated that she had reviewed
all Plaintiff's files and that Plaintiff would never be a police officer for Lancaster Independent School
District following Plaintiff's return from his military tour from Afghanistan.

171. Defendants failed to train or properly train Brein as to his duties and responsibilities as a
student psychologist and knew or should have known that Defendant Brein was conducting an
improper assessment of Plaintiff for pretext purposes. .

172. Bad Job Reference Defendants Allen, Wilkerson, and Carroll knew that Plaintiff had made
application for employment with Dallas Independent School District but released to Plaintiff's
Confidential Settlement Agreement to Dallas Independent School District.

173. Human Resource Director Carroll failed to process Plaintiff complaints of employment
discrimination only seeking to fire Plaintiff or get Plaintiff to resign.

174. To ensure that Plaintiff pleads his cause under the SOLDIER SAILOR ACT and ask that the Court
request that the Court allows this lawsuit to be initiated under the Soldier Sailor Relief Act by
considering all times surrounding this lawsuit that involved Plaintiff Cornish conducting military
training, duties etc., in support of the Global War on Terrorism and a considered time for Plaintiff
readjusting to the society and not rule that Plaintiff has exceeded the statue of limitation so that
justice may be served. Plaintiff expects to amend this complaint with additional EEOC, U.S. Code 1983,
and U.S. Code 1985 violations imposed on Plaintiff by the Defendants.

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175. Plaintiff was on active duty from February 2007-April 2007, July 13-30 2007, August 8-22 2007,

10 days in late September and early October 2007, November 26, 2007 —January 12, 2009, February
2009 (10) Days, May 2009 (10 Days), July 2009 (22) days, and October 26-30 2009.

176. Plaintiff have suffered injuries and assaults on the job while performing his duties the injuries
were sustained while restraining disruptive student:

177. Defendant Allen slapped Plaintiff on the back of the head in January 2007, while at the LISD
High School in the hall way when he introduced Plaintiff to Lancaster City Police Chief. Defendants
Young and Carroll were informed by Plaintiff of this incident to no avail.

178. Plaintiff was attacked by student Darius Mayberry on August 3, 2007, at LISD Junior High while
breaking up a school fight (Dallas County Juvenile Cause No. JD-67168-X).

179. Plaintiff sprained his right wrist breaking up a fight in April 2007 at LISD High School that
involved Student Marquis Montgomery who during the months from April - June 2007 created nearly
daily disruptions at the high school before morning intake.

180. Plaintiff is aware of both Defendant Allen and Wilkerson prior terminations from other
employers and that the Defendant never took any action against them for any protective activity that
they may have been involved surrounding their previous employers; however this was never the case
with Plaintiff Cornish. The Defendant Lancaster independent School District policy has been to employ
the Plaintiff out of necessity to settle a Title VII Retaliation claim that Plaintiff filed against the
Defendants Lancaster Independent School District that was resolved by way of Court ordered
mediation on November 20, 2005 that resulted in November 8, 2005 hiring of Plaintiff.

181. Defendant Allen went from the statement he presented to Plaintiff when LISD and former
Defendant Superintendent Larry Lewis were trying to settle the case on the date of the Settlement,
“Harold lets settle this case so that we can put you to work because we need your experience,
education and training.” Informing my coworkers and LISD administrators thereafter, “Harold Cornish
sued the LISD for discrimination,” “Harold nobody likes you but they know you can do the job and the
others including LT Wilkerson can’t perform at your level ,“ “Harold you are filing grievance just as you
did with Dallas Police Department (DPD) and the juvenile correction department ,” other comments
made to Plaintiff nearly daily referencing Plaintiff history of engaging in protective activities regarding
employment discrimination to finally on September 6, 2007, Plaintiff was placed on administrative

leave and was never disciplined for that which he was placed on administrative leave for.

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82. Allen was encouraging Plaintiff to file grievances and for Plaintiff to petition board members

about his public safety budget being slashed by Dr. Lewis each year. Plaintiff reported to Defendant
Young during the September 2007 hostile work environment meeting that the Defendant Allen had
been continually making remarks about Plaintiff's status as an army reservist and Plaintiff's past
engagement in protective activities related to his employment with the Defendants LISD and past
employers. Plaintiff reported to Defendant that Defendant Allen assaulted Plaintiff by slapping Plaintiff
on the back of the head and nearly hitting Plaintiff in the face on two different occasions and that
Plaintiff sought initially to speak with Allen on these but Allen refused to discuss these issues and that
Plaintiff was now putting Defendant Young and the district on notice of a hostile work environment.
183. Plaintiff reported this to Assistant Superintendent Defendant Eugene Young (the superior of
Allen) during Plaintiffs hostile work environment complaint meeting with Young in September 2007.
Defendant Carroll was made aware of this by Plaintiff prior to the meeting with Defendant Young and
afterwards. Plaintiff reported to Defendant Young that both Defendant Allen and Wilkerson were
limiting officers from working overtime, off-duty and that they were not present in the morning for
duty due to suspected working part time jobs that were at the same time they were being paid by LISD.
Defendant Young and Defendant Carroll later conducted minor review into only one day finding that
both Allen and Wilkerson were double dipping and discipline Allen (terminating his employment) but
not Wilkerson. Defendant only conducted an investigation surrounding one because they protecting
both Allen and Wilkerson from potential criminal charges of fraud of public funds by double dipping
which is they were receiving pay from both Lancaster Independent School District and Red Oak Charter
School for duties performed at the same time. Plaintiff Cornish forwarded emails to Defendant Allen
requesting to meet with Defendant Young about matters of public concern and Allen attempted to
solicit from Plaintiff what the reason he requested to speak to Defendant Young but Plaintiff only
response to him were “Matters of Public Concern and Safety.” Defendants were place notice of
discrimination and retaliation by Plaintiff's written and oral complaints to Assistant Superintendent
Young and HR Director Pamela Carroll in September 2007, following Plaintiff's return from active duty
nearly daily or weekly and Defendant Carroll never sought to resolve are act on Plaintiff's complaints.
184. Around January 2007 and after returned from a 9 week military training tour , Plaintiff observed

that Defendant Allen and Wilkerson were never at work during intake morning process and informed

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Defendant Young of this some 4 to 5 months later after Young finally met with Plaintiff on his hostile

work environment complaint in September 2007.

185. In the week of October 26-30 while Plaintiff was on military leave he appeared in the office of
the Defendant Carroll for reviewing an open records request referencing all documents the Defendants
released to the Dallas Independent School District whom the Plaintiff was litigating. Defendant Carroll’s
Secretary Mary Woodberry showed Plaintiff several boxes of documents that contained documents
surrounding the Plaintiff's personnel records and the lawsuit which Plaintiff settled with the
Defendants and Plaintiff observed a copy of the Confidential Settlement Agreement date November
20, 2005 and the Court Order from HONORABLE STATE DISTRICT JUDGE JANICE WARDER ordering the
Expunction of certain documents that pertain to the Plaintiff. The Plaintiff in 2002 informed both
former LISD Police Chief Carl Headen and former LISD Police Lieutenant Ryan Getty that the order was
subject to the expunction but was still illegally maintained by the Defendants. In June 2009, Plaintiff
informed Defendant Carroll the Human Resource Director that the settlement of the lawsuit was
confidential and that it should remain the same. Plaintiff also informed the Defendant Carroll that the
expunction order granted by Judge Warder he suspected was still being held in his file for suspected
illegal reasons. Defendant advised that she would look into the matter but the Defendant instead
released the documents to the Dallas Independent School District who made reference to the
documents in the court records prevent Plaintiff from obtaining a job with the Dallas Independent
School District (DISD).

186. Defendants Wilkerson, and Carroll conspired to take Plaintiff's state peace officer's commission
away from him by falsifying a government document by submitting to Plaintiff Cornish and the state
licensing authority Texas Commission on Law Enforcement Officer Standards and Education on or
about November 4, 2009, a Separation Document F-5 Form stating that Plaintiff's police/peace officer’s
position was eliminated when the board minutes shows that Plaintiff's position and/or no police officer
(police level) position was ever eliminated. Defendants Young and Marable knew are should have know
that this took place and that it was illegal. Plaintiff informed the Defendant Human Resource Director
Carroll, Assistant Superintendant Young, Acting Chief Wilkerson, and the LISD Board of Directors of this
illegal act.

187. September 2007 , Defendant Young was informed by Plaintiff Cornish during the meeting with

him regarding Cornish’s Hostile Work Environment Complaint that both Defendants Allen and

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Wilkerson had been unavailable during the early hours of work due to possibly working extra jobs on

LISD time creating safety issues due to numerous disruptive fights at the high during intake. Defendant
Young was informed that Plaintiff suspected that the Defendants were working part time job during
duty hours but restricting officer’s part time work.

188. . December 2006 and January 2007, rookie LISD Police Officer Duncan advised Plaintiff that he
was told by both Defendants Wilkerson and Allen not to work with Plaintiff Cornish, and no reason was
given. Between January 2007 and August 2007,while Plaintiff Cornish was on mainly of military leave,
young rookie LISD Police Officer Corey Duncan phoned Plaintiff Cornish by way of cell phone advising
Cornish on several different occasions that both Defendant Allen and Wilkerson ordered him not to
work with Plaintiff Cornish. Defendant Allen advises Plaintiff Cornish to stay away from rookie officer
Duncan, and Plaintiff complied with the best of his ability. Around early January 2007 Plaintiff had a
conversation with Chief Allen regarding the training of rookie officer Duncan and Defendant Allen
advised Plaintiff Cornish that Plaintiff Cornish was the only person qualified to train Duncan. Plaintiff
Cornish reminded Defendant Allen that Plaintiff had advised Defendant Allen that it would be a
challenge to train Duncan in law enforcement due to the limitation of the other police staff and that it
was incumbent on Defendant Allen to ensure that Duncan was properly trained, because Duncan was
the first true rookie police officer hired under Defendant Allen’s administration and his training will
reflect on Chief Allen and the department. While Plaintiff was on military leave rookie Officer Duncan
advised Plaintiff in person and by phone on numerous occasions that both Defendants Allen and
Defendant Wilkerson stated to him that Plaintiff Cornish was the only police officer on the LISD Police
Department qualified to train Officer Duncan. Duncan would ask numerous rookie type questions
regarding the use of force and Plaintiff Cornish would answer according law, policy, experience etc.,
and encourage Duncan to solicit answers from both Defendants Allen and Wilkerson.

189. In early 2009 following Plaintiff's Cornish return from long tour active duty, LISD Police Officer
Duncan in person and by phone told Plaintiff Cornish that LT Wilkerson around November or December
2008 who was then the Acting Chief of LISD Police Department advised told him that if Plaintiff Cornish
returned back to work on the LISD Police Department that Duncan would be fired. Plaintiff Cornish
attempted to get Officer Duncan to commit this statement in writing by emailing him around August
2009; however, Duncan called Plaintiff by phone and restated what he had previously stated to

Cornish. Duncan asked Cornish not email him at work on those matters.

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190. Defendant Lewis Defendant as former Superintendent, Defendant Marable as the Interim

Superintendent for the Lancaster Independent School District (LISD) was aware of the Plaintiff
Cornish’s hostile complaint of discrimination under Title Vil (past protective activity)and based on
Plaintiff Cornish's association and obligations as a U.S. Armed Forces Military Officer Reservist and
direct evidence of discrimination of retaliation Of the administrative leave letter generated by
Defendant Allen , Wilkerson, Young, Carroll and investigator Hill, that came after being placed on
notice by Plaintiff of a hostile work environment and or discrimination complaint (Emails faxes or
written complaints of June 14-19, 2007 to Young where Carroll is involved). Plaintiff also placed
Defendants on notice with written communication , to Allen, Young and Carroll on June 2006, Jan-Feb
2007, September 5, 2007, September 6, 2007, September 13, 2007 May 11, 2008, De3cember 2009, .
Defendant Marable and Defendant McCollum continued the adverse discriminatory action put in play
collectively and individually by Lewis, Young, Allen, Carroll, Wilkerson, and Hill all whom under who
worked for the Defendants in some official capacity willfully conspired to not take any action against to
substantiate Plaintiff's claims therefore, Hill conducted a sham investigation and never contacted
Plaintiff for an interview. The same standard of a hostile work environment for gender discrimination is
applied to all hostile work environments and no care or reasonable action terminate any further
amicus towards Plaintiff was conducted due to the sham investigation conduct by Defendants attorney
Defendant Hill. The Defendants then later tried to insulate themselves by alleging attorney client
privilege when Plaintiff the victim request to review the investigation on December 22, 2007-and have
been denied since.

191. Defendants Computer technology Manager/Director Alan Steele during September and
October of 2009 informed Plaintiff that all emails are maintained on the LISD computer system and can
be retrieved.

192. in 2007 prior to Plaintiff's military long tour, Plaintiff advised Defendant Carroll by way of

writing to maintain copies of all documents pertaining to Plaintiff Cornish.

193. The Appendix attached to this complaint Plaintiff affirm that they are true and correct copies of
what they purport to be.
194. Where the name of Defendant Leslie McCollom appears in this claim the name of John Peter

Lund is to sued in this claim also who are both legal representatives for the Defendants for the same

law firm that cause harm to Plaintiff. .

28

Case 3:10-cv-00797-D Document 1 | Filed 04/19/10 Page29o0f59 PagelD 29
195. PRAY FOR RELIEF

196. But for the offending events in question, Plaintiff suffered injury. Plaintiff sues his former
employer and the Defendants in the following respects, to wit:

197. Compensatory damages (documented severe embarrassment, fear, anxiety, loss of sleep, and
emotional distress) associated with the discriminatory/retaliatory treatment Defendants subjected
Plaintiff to since November 2005 and began taking adverse action that has continued to the present.

198. Compensation for Assault and Battery when Chief Allen in January 2007 slapped Plaintiff on the
back of his head while introducing Plaintiff to the City of Lancaster Police Chief. Embarrassing Plaintiff
both personally and professionally.

199. Actual damages including psychological counseling since 2006 for subjecting Plaintiff to a
constant hostile work environment because Plaintiff's previous engaging in protective employment
activities, reporting Defendants Wilkerson, Carroll, Marable, and Young for falsifying the Plaintiff's F-5
Texas Commission On Law Enforcements Officers Standards and Education separation of commission,

and because of Plaintiff's filing labor department complaints alleging USERRA violations against the

Defendants.

200. Exemplary damages directed against the Defendants.

201. Pre-judgment and post-judgment interest.

202. Reasonable legal fees (for any legal contractual agreements), expert fees, and cost to litigate
this claim.

203. Monetary damages for loss of past (overtime) and future wages, pension, mental anguish, and
employability.

204. Punitive Damages for loss of professional reputation and professional embarrassment.

205. Declaratory judgment relief in the form of a declaration that conduct in question violated

Plaintiffs federal, constitutional, and/or civil rights and that functioning, and negative effect on

Plaintiff future employment.

Kear! B we Ail 13200

Pro se Plaintiff Harold B. Cornish DATE
601 Nora Lane DeSoto, Texas 75115

Primary Ph. 972-352-9187

Secondary Ph. 972-230-3775

Email Address, hcbg@prodigy.net

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Plaintiff Harold B. Cornish Appendix of documents to Plaintiff's initial complaint against Lancaster Independent School
District (LISD)
Appendix# Date Type of Copied Document (S) Number of Pages

Plaintiff EEOC Right To Sue Letter of Charge #450-2010-00754
1 1/19/2010 against Defendant Lancaster Independent School District

Plaintiff EEOC Complaint of Charge #450-2010-00754 against
2 11/23/2009 Defendant Lancaster Independent School District (LISD)

#3 Certified Mailed #7006 0100 0005 2619 6159 Envelope from
Lancaster Independent School District Police Department that
contained #4 Plaintiff's F-5 Form Seperating Plaintiff's police

3 thru4 11/4/2009 commission from LISD PD signed by Defendant Keith Wilkerson

Notarized statement of former Defendant LISD former Police
Chief Sam Allen to Plaintiff Cornish placing Plaintiff on
5thru6 9/6/2007 administrative leave

Administrative Leave Letter from Defendant LISD former
7 9/6/2007 Superintendent Larry Lewis to Plaintiff Cornish

A signed email from Plaintiff Cornish from the email account of
8 thru 10 9/5/2007 LISD Police Officer Cory Duncan to Defendant Allen

A certified mailed Letter USPS CERT #70060100000526223411
11 9/21/2007 from Defendant Allen to Plaintiff

An email from Defendant Allen to former LISD Media Relation
12 1/10/2007 Manager Teri Wilson and copied to Plaintiff

A Fax from Plaintiff Cornish to LISD H/R Director Defendant
13 thru 18 11/28/2007 Carroll of Plaintiff's positive impact as an LISD Police Officer

Email From Plaintiff Cornish to Defendant Carroll regarding
19 thru 20 9/13/2007 hostile work environment within LISD

Stream of Emails from Plaintiff to Defendant Carroll regarding
21 thru 22 6/19/2007 Plaintiff's discrimination grievances

Email from Plaintiff Cornish to Defendant Carroll regarding
23 6/14/2007 Plaintiff's discrimination grievance

Emails between Defendant Carroll, Dexter Caston and Plaintiff
24 thru 25 10/19/2007 regarding Plaintiff's military orders

Letter from Defendant McCollom and John - Peter Lund and an
exhibit 1 to the Texas Attorney Generals Office and copied to
26 thru 28 9/4/2009 Plaintiff, Leatrice Green and Defendant Carroll

EEOC Fam 1640 RBS 3:10-CV-0079U.Q EQDAC ENO YMENT OFPORTURIZ? CoMmaeSonl Of 59 © PagelD 31
DISMISSAL AND NOTICE OF RIGHTS

Harold B. Cornish From: Dallas District Office
601 Nora Lane 207 S. Houston St.
Desoto, TX 75115 3rd Floor

Dailas, TX 75202

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No,

Janet V. Elizondo,
450-2010-00754 Deputy Director (214) 253-2852

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or: local fair employment practices agency that investigated this charge.

UO BROOD

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form. )

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On beha' y

of the Commission
J vache. Lhe tho les

Enclosures(s) IC. Fetzer, / "(Date Maited)
rector
ce: Leslie McCollom
_ Attorney at Law
808 W. Avenue
Austin, Texas 78701

| WTA Wb ber itr vtieiees

_ This form is affected by the Privacy Act of 1974: See enclosed privacy Act

a i PV FEPA ne
dtament and other] tion bel leting this form. | He :
onde. Casteneeeede75 PBociment 1" Filed 04/19}10.[X Pagges? of 59." Page 0100754
Sy er Fexas Workforce Commission Civil Rights Division. — --- and EEOC |.
| ~ State or local Agency, ifany
| Name (indicale Mr., Ms., Mrs.) . : Home Phone (Incl. Area Code) Date of Birth
_Mr. Harold B. Cornish (972) 230-3775 09-24-1961
~TStreat Address , Cily, State and ZIP Code

601 Nora Lane, Desoto, TX 75115

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

Name . . No. Employees, Members Phone No. (include Area Code)
LANCASTER INDEPENDENT SCHOOL DISTRICT (POLICE). 500 or More (972) 218-1400
Street Address uo . City, State and ZIP Code ‘

422 S. Gentre, Lancaster, TX 75146

Name

No. Employees, Members | Phone No. {include Area Code)

Street Address

City, State and ZIP Code

>

DISCRIMINATION BASED ON (Check appropriate box(es).}

. , . | DATE(S) DISCRIMINATION TOOK PLACE
‘ , Earliest Latest . -
| RACE |] COLOR || SEX |] RELIGION LC] NATIONAL ORIGIN 09-07-2007 41-04-2009
petauarion [| ace [__| otsasuy ..

GENETIC INFORMATION
OTHER (Specify)

[| CONTINUING ACTION”
THE PARTICULARS ARE (if additfonal paper is needed, attach extra sheai{s)):

PERSONAL HARM: On/about September 7, 2007, | was placed on administrative leave from my commissioned police
officer position. From approximately November 26, 2007 through January 12, 2009, | was on military leave - active duty

in Afghanistan (long tour). 1 reported back to work on/about May 1 1, 2009, and.was temporarily assigned to the HR
Director. in August 2009,

D InA | was assigned and placed in a'lower level position as a civilian Truancy Officer. On
‘November 4, 2009, my police commission was no longer carried by Lancaster ISD. — —

RESPONDENT'S REASON FOR ADVERSE ACTION: | was informed that | was placed on administrative leave due to
numerous complaints. When | returned

from active duty, | was advised that my position as a police officer had -been
eliminated “with officer in good standing

> 1 was further advised that my commission would no longer be carried by
Lancaster ISD in my current position of civilian Truancy Officer but no reason was provided for taking this action.

and lawsuit against Lancaster ISD and other employers. Since my date of hired in November 2005, Lancaster ISD has.
hired two (2) other commissioned police officers who ‘are currently employed as commissioned police officers - Officer —
Duncan and Officer Dyson. | have lost many privileges and benefits as a result of not being commissioned.

DISCRIMINATION STATEMENT: | believe | was retaliated against because of having filed a previous EEOC charge

{want this charge filed with both the EEOC and the State or local Agency, ifany. | | NOTARY — When necessary for Slate and Local Agency Requirements

will advise the agencies if | change my address or phone number and | will

cooperate fully with them in the processing of my charge In accordance with their

procedures. | swear or affirm that | have fead the above charge and that itis true to
I declare under penalty of perjury that the above is true and correct.

the best of my knowledge, information and belief.

ey OF.COMPLAINANT ,
. rls) BS.
Coden & SUBSCRIBED AND SWoRK 10 BEFO:
Nov 23, 2009 . .

(month, day, year) -
Date

Charging Party Signature : i | a ah O q

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Case 3:10-cv-00797-D. Document 1

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Case 3:10-cv-00797-D Document1 Filed 04/19/10 Page 340f59 PagelD 34

TEXAS COMMISSION ON LAW ENFORCEMENT

OFFICER STANDARDS AND EDUCATION
6330 U.S. Highway 290 East, Suite 200
Austin, Texas 78723
Phone: (512) 936-7700

http://www.tcleose.state.tx.us

F-5 REPORT OF SEPARATION OF LICENSEE
LICENSEE INFORMATION (Occupations Code 1701.452)

1. First Name 2.M.1, 13, Last Name 4. Suffix (Jr.,
HAROLD {|B CORNISH etc.)

5. TCLEOSE PID 6. Date of Birth 7. Home or Permanent Mailing Address

45662 09/24/1961 601 NORA LANE

8. City 9. State 10. Zip Code 11. Phone Number

DESOTO TEXAS 75115 972-230-3775

12. APPOINTMENT(s) (Check all that apply)

13. TCLEOSE Agency Number : 14, Appointing Agency

113902 Lancaster ISD Police Department

X Peace Officer [] Reserve [1] County / Contract Jailer [] Medical Corporation P.O. [1 Public Security Officer

15. DESIGNATION OF SEPARATION: (Check only one). (Report in 7 business days Occupation Code 1701.452(a))
16. Date Appointed: 11/08/2005 17. Separation Date: 09/21/2009

Honorably Discharged
CD Retired in good standing [J Terminated at will. (must attach explanation)
C] Resigned in good standing to pursue non-L.E. career [J Transferred from regular officer to reserve officer
C] Resigned in good Standing to pursue L.E. career (C] Transferred from reserve officer to regular officer
C1 Killed in the fine of duty [] Transferred from peace officer to jailer
CI Died white in good standing with the agency (1 Transferred from jailer to peace officer
C1 Disabled white in good Standing, unable to perform duties (CI Separated as a result of changes in leadership of L.E. agency or jocal govt.
X Position was eliminated, with officer in good standing C1 Separated from the agency subsequent to loss of a public election

C1 Retired or resigned while under investigation for an administrative violation and after the officer was advised in writing of the investigation (must
attach a written explanation of the alleged administrative violation, including a copy of the policy or rule)

CI Retired or resigned while under investigation for a criminal violation(s) and after the officer was advised in writing of the criminal investigation,
{must attach a written explanation of the alleged criminal violation, including the section of the law)

C] Retired or resigned after receiving notification of pending disciplinary action, up to and including termination for an administrative violation. (must
attach a written explanation of the alleged administrative violation)

[1 Failed to complete a field training program

C) Failed to compiete required training under rule 217.11
{] Failed to complete TCLEOSE licensing requirements

Dishonorably Discharged
{7 Retired or resigned in fleu of termination for a criminal offense{s) (must attach an explanation of the criminal law being investigated)
(] Terminated for a criminal offense(s) charges filed (must attach contact information for court of record or district attorney’s office)
Fy Termted fora criminal offense ino charaes filed afer ravinuy with ohana ur cities)
LJ Retired or resigned in lieu of termination for an admin. violation(s) of truthfulness or insubordination {must attach a copy of the policy or rule}
(1 Terminated foran administrative violation(s) of truthfulness or insubordination (must attach violation and copy of policy or rule)

hief administrator or desinnee. attests that thie nue aneaccurate explanation of the circumstances

Bradt Which this person resigned or was terminated.

A copy of this F-5 was provided to the person as required by Occupations Code 1701.452(d), in 7 business days

by: :

” C) Hand delivery on X Certified mail on 11/04/2009
Date Date

Sei i n/Acting Chief of Police . 7 Aas
oie Kone fof 5

Agency Administrator or Designee (Type or Print) “ Signature Date

F-5 Separation of Licensee 4.15.2008 | Page 1 of 1 Y

PagelD 35

FiHed04/19/10 Page 35 of 59

:10-cv-00797-D Documertt
Case 3:10 Nothing Is More Important Than Protecting Our Children!

Officer Harold Cornish
601 Nora Ln.
DeSoto, Texas 75115 3

Officer Cornish:

was a chance for you
to gain an experienced, educated police Officer,

May 17, 2007 yet another use of force complaint was brought by another Lancaster High

Lancaster ISD Police Dept /814 W. Pleasant Run Rd/ Lancaster, TX 75146 5
Chief Sam Allen/972,218, 164g

UYOTIT CLL nt 1 I 04 9 0 I 36 f 59 I 36

Nothing Is More Important Than Protecting Our Children!

and disrupting the learning and training
schedule,
With this in mind and the documents attached, I am Suspending you from duty effective
September 6, 2007.
Sincerely, - 30 7 wd
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NN Chief of Police Pb nL
’ 4 pe iW. PV «YUE
Lancaster ISD Police Department fone [OE po a J
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tM LISD PD

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yVENE SAM,

» > eetRAY Bre Og

Lancaster ISD Police Dept /814 W. Pleasant Run Rd/

Lancaster, TX 75146 6
Chief Sam Allen/972.218.1648

Filed 04/19/10 Page37of59 PagelD 37

Case 3:10-cv-00797-D Document 1

Larry D, Lewis. PhD.
Superintendent

September 6, 2007

Mr. Harold Cornish
LISD Police Dept,

Dear Mr. Cornish:

Fiffective Septemher 6, 2007, you will be placed on administrative leave with pay
based upon allegation

During investigations, the district finds that it is often best for those involved to be
removed from the situation temporarily, in order to expedite the investigation.
Please leave a telephone number with Ms. Pamela Carroll, Director of Human

Resources at which you may be contacted during the day.

Attached are copies of complaint,

Lf you have any questions or concerns, please contact me.

aryy | 5 Ph.
Sugerintendent

OT mee 8 eta Matow yr mmmeegmernanpeemes 600 ae 12 tte Pt mareNee Meer fe reeme A o

| acknowledge receipt of this letter, > py pn
) 7 972-230-377 J
Cured B (ty.L A_ GO) 26037 DL 22: 352-97
Signature ! Date Phone Number
C: Director of Human Resources
Lancaster 18.0, W225. Conten Avenne Launeaster, Texas 75146
Phone 272.778. 1agg WAN OF2STBT AI

|
Case 3:10-cv-00797-D Document1 | Filed 04/19/10 Page 38 of 59 Pagel 3s. 1 of 3

Cory Duncan

From: Cory Duncan

Sent: Wednesday, September 05, 2007 6:21 PM
To: Sam Allen

Ce: ‘hcbg@prodigy.net'

Subject: Your Promise to Fire Harold Cornish

Chief,

| have requested numerous times to speak with Assistant Superintendent Young to no avail. You have
encouraged me to file grievances (one of which is on race) and

make open records requests, regarding raises etc; however, when | asked questions, and made open records
requests regarding documents surrounding these matters,

that are of public interest and safety, you have verbally stated to me, “I’m tired of this shit Harold, you making
open records request, | have to spend time gathering this

information when | could be doing other things.” This is a matter of free speech. You tell me that | am disruptive
but you have discouraged officers from asking questions

about overtime (when | have been the only one that has defied your demands of not submitting overtime sheets .
for legitimate overtime worked due to your constant verbal

demands that you promised Dr. Lewis that you would submit and/or cut down on overtime), arrest procedures,
and even making it Mandatory for us to work petition drives

for the BOND campaign which is illegal in every sense. You have stated over and over to me that my military
duties are voluntary and that | am never here because of my

duties and obligations. You took up my company phone, shut down my email when | went on military leave, but
failed to do the same when others went on leave. You

contacted an official regarding the confiscating of my credentials prior to my leaving on military leave and was
advised that you could not do it, you claimed that you are

prior military; therefore, you should be aware of this. There has been no training in the use of force, as well as
many other matters, and today you stated to me that you

want my resignation because you stated that | have been disruptive or you will conclude your investigations and
terminate me. You have ordered officers to confront

students in the hall ways and suspicious activity and | have complied with your demands. | have advised you of
the state of confusion that the high school is in and

requested to work the junior high to no avail, and each time the assignment was changed | had to exercise
reasonable professional judgment in protecting the safety of

Students and or teacher without any training from you are the administration. You ordered me not to work with a
young officer Duncan for no apparent reason because, this

was long after | emailed you and advised you that it was important for you to ensure that he be Properly trained
(no documents exist to show that he was trained properly)

because he was the first untrained police officer that you have hired. | advised you and LT Wilkerson that the
practice of open verbal criticism of Officers in the presence of

9/5/2007

Case 3:10-cv-00797-D Document1 | Filed 04/19/10 Page 39 of 59 Pagel Ore 2 of 3

other officers. You on several occasions threaten openly that officers would not be working for you by the
beginning of this school year, in particular Foster and Thorne

whom you never stated a reason why. | advised you in private that this was inappropriate on several occasions
and could result in civil litigation but you always responded,

“Harold, | can do it because they are AT WILL EMPLOYEES!” You characterized your staff as the following:

LT Wilkerson ~ “He is inexperienced, uneducated, not where you are at Harold and | am trying to get him there.”
Officer Gilliam — “Watch him Harold he will lie, don’t know a Damn thing.”

Officer Thorne — “Harold she can’t be taught anything, she will make a good security guard and | want to fire her.”
Officer Foster - “Harold he is fat overweight and | am going to fire him.”

Officer Duncan ~ “He’s a rookie and we don't have the time to train him.

Officer Austin — “Harold he don't know a Damn thing, screwed up the Katrina Stephenson investigation that you
had to straighten out an investigation that could have

embarrassed this department.”

Public Safety Officer Johnson — “Harold he is an alcoholic and neither he nor Gilliam wants you here.” (I have
previously informed you that | smelled alcoholic beverage

dissipating from Officer Johnson during duty hours.)
Superintendent Larry Lewis ~ “Harold the man does not like police officers.”

Officer Comish — “ Harold, | told Dr. Lewis that you would only be with us for a year in a half before you move on.
Harold nobody likes you but they know that you can doe

the job, | know that you can do the job. Harold | have put no complaints or discipline in your file. Harold the JPA
Coordinator's position is a Coordinator position, it’s in the

policy and provides a stipend. Harold you need to get the other officers to file a grievance on pay. Harold you
need to help Austin write the grievance on pay, | can’t get

involved, we never had this conversation.” Harold Eugene Young has been saying that he believes that | am the
person who has been putting you guys up to filing

grievances on pay. Harold, | do not believe that the grievance should be about race just on the pay issues.”

Chief Allen, | have done nothing wrong but exercised free speech and expression by making open requests,
asking legitimate questions, and filing legitimate grievances

(the on pay | have been told has lead to equal pay of Black Officers that were paid historically less than the only
White Officer on the Department), should you decide to

terminate me | will appeal the termination based on retaliation and | will again have the district in court on a civil
rights violation and possible criminal matters.

You have threaten my lively hood because | have questioned you on matters that affect public interest. | have
advised you in the past on several different occasions that

any superior can make any subordinate look bad if he chooses to do so.

9/5/2007

Case 3:10-cv-00797-D Document1 Filed 04/19/10 Page 40 of 59 PagelDp4ge 3 of 3

g | will put this in the hand of whom | oO needs to have this document.

Sao Col” 9957 200-7

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(HY Files

9/5/2007

Case 3:10-cv-00797-D Documenti Filed 04/T9/IO Paue Atrotsy
Nothing Is store Important Than Protecting Our Cnddrent

September 21, 2007
USPS CERT#7006010000052622341 1

Officer Harold Cornish
601 Nora Lane
' DeSoto, Texas 75115

While on administrative leave and until a disposition has been made on your
investigation you are to report to duty by telephone each working day by 8:00am
Monday through Friday, excluding school holidays. The hours you will be
available to the LISD Police Department are from 8:00am until 5:00pm. You will
have a designated lunch hour from 12:00am until 1:00pm. You will phone in to
the LISD Police Department, 972.218.1648, by 8:00am with a phone number you

can be reached at.

If you have Military orders, pending or otherwise, you will need to forward them to
me. You will also need to provide me with unaltered copies of all Military
assignments from November 8, 2005 to present. These documents need to be
provided to me by September 28, 2007.

Best-regards,

Séf Allen/Chief of Police

Cc: Pam Carroll/Director of Human Resources
Eugene Young/Assistant Superintendent
Cindy Hill/Attorney at Law .

Lancaster ISD Police Dept /814 W. Pleasant Run Rd/ Lancaster, TX 75146
Chief Sam Allen/972.218.1648 i

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Page | of 2

Harold Cornish

From:
Sent:
To:

Ce:
Subject:

Teri,

Sam Allen

Wednesday, January 10, 2007 5:53 PM
Teri Wilson

Harold Cornish; Eltoro Foster

Junior Police Academy

We have a youth growth on the middle school and the High School campus that our Board
members do not know about. This group collectively represents about 60 of our students,

Junior Police Academy motivates young people to be outstanding citizens through
law enforcement education. An outgrowth of community policing, JPA transforms the
traditional role of the police officer into one of mentor and friend, while encouraging

our young citizens to be partners, not adversaries, in building safer schools and
communities.

Tomorrow's Leaders

Targeting middle school and high school students, the program is a police academy
for young people. While our graduates are not police officers, they are the community

leaders of tomorrow -- instilled with an appreciation and respect for law enforcers and
their role in society.

I am requesting that the Middle School group lead us in opening of the next board meeting
and be recognized by the Board for there commitment and participants in community
involvement from Bond drive get out to vote, Thanksgiving Dinner Drive and feeding over 30
families in Christmas Dinner Drive.

Chief Sam Allen

Lancaster | S D Police Depart.

814 W. Pleasant Run Road

Lancaster Texas 75146

972 218 1653 (0)

469 261

8889 (c) j2

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Case 3:10-cv-00797-D Document1 Filed 04/19/10 Page 43 of 59 +=PagelD 43 o~
O

972-218-1401

ATTN: LISD H/R DIRECTOR Pamela Carroll t s ss
(™~
cr)

DATE: Nov. 28, 2007 =~

FROM: Captain Harold B. Cornish
UNITED STATES ARMY RESERVE
Ph. 972-352-9187

Comments:

Please ensure that Dr. Lewis and the board members
receive the following (5) Page document.

Ce: Attorney Craig Driskell

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NOV—-29-G@7 62:21 PM CHOICE ST22Sa0S7T7S P.@2

Case 3:10-cv-00797-D Document1 Filed 04/19/10 Page 44 of 59 Pagelb 44

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|

POSITIVE EVENTS CORNISH WAS INVOLVED IN WITH LISD
}
November 5. 200§ - Comish settles job discrimination lawsuit against LISD and is hired as a police officer. Chief
Sam Allen is present and is aware of Comish’ military reserve status, Cornish knowledge of law enforcemen
employment law, ¢ivil rights and discrimination laws. Chief Allen advises Cornish that he needs Cornish to br! ing
the LISD POlice Department to a level of respectability because the department lacked professional creditab lity
with Or. Lewis and the Lancaster community due to the physical appearance of the department officers, |
education, training and profesional competence level of the department. Chief Allen stated that Dr. Lewis wolild
not give the department any raises without first Showing him that the police department was competent and |
profesional.
November 08, 2005 ~ Cornish begins his first day of work as an LISD Police Officer. As Chief Allen introduce
Comish he continually introduces Cornish as Cornish having been previously hired by LISD and later terminatd
and Comish initiated a discrimination lawsuit which was settled. This was a continual process. November 2005,
Chief Allen introduces Cornish the same with the LISD Police personnel: Melba Thorne, Wille Johnson, H. ean
Gilliam, Eltoro Foster, Keith Wilkerson, and Anthony Austin. Chief Allen explains that advises Cornish that LISD
Police Department needs Comish’s law enforcement, training, law enforcement experience, investigative skits
education, and military training and experience to become a respected police department. Chief Allen explains to
Cornish that none ‘of the current police officers possessed Sufficient experience in police investigations, poli
procedures, police reporting, and Chief Allen insisted that the department was viewed as a security department
and not a police department. March 2006 Chief allen introduces Cornish to the then Junior High Principal
Stephenie Norman and advised Mrs. Norman in Cornish's presence that Cornish had to file a oan in

November 2005 - Comish is given the Katrina Stephens investigation by Chief Allen and LT Wilkerson, due t
Officer Anthony Austin's failure to file the high profiled Theft case which involved the LISD Majorettes spon
stealing cash mores paid to her to purchase LISD Majorettes uniforms. Chief Allen and LT Wilkerson advised
Cornish that they feared that Stephens would get away with theft ecause the case was never filed by Officer |
Austin or LISD Police. Chief Allen and LT Wilkerson advised Cornish that they feared that the department woul
be embarrassed if Stephenson walked away free without the case being filed some two months after Stephen's
arrest. LT Wilkerson came to Cornish and asked Cornish if Comish could file the case. Cornish advise LT
Wilkerson that he could and Cornish began and intensive investigation. Cornish initially advised LT Wilkerso
that the simple charge of the Theft was the proper charge; however, LT Wilkerson insisted on filing Theft
Fiduciary Respon ibility of which Cornish complied with. When the case was presented to the District Attorn
(Pat first name only) by Cornish, LT Wilkerson and Austin were present the DA Pat stated that the proper chugs v
. . t

Nov 2005, Cornish observed that there was not a records management system being used by the LISD Pot
Department to rack the reports and call for police service; therefore, Cornish presented and suggested to LT:
Wilkerson and Chief Allen that a Simple microsoft excel spreadsheet designed by Cornish that tracked the report
number, location, Teporting officer, complainant name, date, and type of offense committed. Cornish also created
a sheet called the Chief Board, this sheet contained and important offense/incidents that took place within th
LISD that involved a police response. Chief Allen and LT wilkerson instructed the officers to utilize the reporting

systems created by Cornish until it was replaced with the current records management system during the summer
of 2006.

November and Derember 2005 during the Thanksgiving and Christmas Breaks the Lancaster High School was
burglarized several times, Cornish was given the investigations which lead to the arrests, conviction, and |

restitution of Joey Franklin and several other youths involved.

NOV—-—28-@07 @2:22 PM CHOICE AV22S0S7TTS

P.gsS
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i
January 2006, Cornish is made the Coordinator of the Junior Police Academy (JPA), transferred to the suriod
High School. Chief Allen advises Cornish that the JPA Coodinators position was an actual coordinators pein
and paid a stipend, Cornish was never paid as a Coordinator and was possessed a 4 year and 2 year colleg
degree. Cornish conducted daily classes with student without a budget, planning period or time being granting to
formulate leseon plans. For the school year 2006-2007, Cornish was again assigned as the JPA Coordinator, this
time against Cornish's prior recommendation the cjunior and the high school classes conflicted with time Z:
into the junior high school class the high school class began, Cornish advised both Chief Allen and LT Wilkerson

the
SS.

January 2006 schgol year Officer Cornish and Officer Thorne begin speaking at the elementary schools withi

LISD on gun safety (Eddie Eagle Safety Program) pursuant to orders of Chief Allen and the program is a su

March 2006, Cornish is given the position of the LISD Physical Fitness Coodinator and Comish created the

fitness test based pn the Police Cooper's examination utilized by police officers throughout the nation. com
i

administered the first Internal LISD Police Department Chief Allen had for months advised Comish individua
and outside the pr

Examination until
he (Wilkerson) w
standards of the
Cornish communi
employees. LT Wilkerson complained to Cornish that the runs 300 meters and 1.5 mile was to difficult to pass.

Cornish responde¢ that he was willing to modify the standards but only if the Chief of Police instucted him to do
So. i |

March 07, 2006, N hile Cornish was teaching the JPA class {containing approximately twelve 7th and 8th +:
Ing

@y pass it. LT Wilkerson prior to taking the examination on several ocassions asked Cornish if
iId pass the examination, Cornish would advise him each time that it would be based on tie

2oper's examinationOn that date none of LISD Police that were tested passed the examination.
ated the results of the examination to Chief Allen, LT Wilkerson, and al! LISD Police

nce of all other LISD Police employees that they all would be required to take the =

males and one 7th grade female) LT witkerson called a Cornish and advised Cornish to be present at a mee

at the LISD Junior High School. Cornish acknowledge that he would be there. Prior to the meeting Comish called
the front office of the LISD Junior High and requested that Cornish be relieved by a staff member to be present in
the class room so that Comish could make the meeting. LT Wilkerson phoned Cornish and Cornish advised|LT
Wilkerson that he was not able to leave because the class room was not covered with an teacher. Cornish
continued to requ st by way of the intercom that the junior high shool office staff provide him with a teacher t
cover Comish’s class based on the LISD Policey and law that prohibits teacher leaving students in a class r
during school ac ities unattended. Former H/R Director Karla Brewer confirmed this. Cornish made the meeting
on time prior to the meeting started, Gilliam and Austin were arrived 10-15 minutes after Cornish. LT Wilkersbn
after work met with Cornish and issued Cornish a Reprimand alleging that Cornish refused to attend the meeting a

April May 2006, Cornish investigates and clears up an improper charge of Theft filed by Officer Thorne and files
' the proper charge of Burglary of a buikling angainst Luca Fielder and several other LISD students that burglarized
the LISD. Sports Gomplex at 200 E. Wintergreen. Results were convictions and court ordered restitution.

November 2005 - Cornish began assisting LISD Officers Austin, Gilliam, Thorne, and Foster in report writing pnd

insisting that the o cers hae the proper elements of an offense and arrest to file the proper charge. Cornish |
continually insisted that a spreadsheet be completed i

May 2006 June 2006 Cornish began conducting numerous administrative investigations on behalf of the LISD
HIR Director Pam Carroll, to determine if an to include: an LISD teacher utilized his position to promote website
pornography. After a thorough Investigation the teacher Mr. Cullen was cleared, taken off of administrative leave
and returned to work with LISD, and other teachers allegedly assaulting students (Coach Grace, a child bein
struck on head bya teacher with a ruler, and Ezra at Mrs. Alba's school was allegedly assaulted by his teacher...

NOV—28-07 B@2:24 FM CHOICE 97T22S50377TS P.a4

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May 2006, Cornish was assigned to investigate the LISD computer thefts and discovered LISD ccustodians
engaging in consifnpton of alcoholic beverages during business hours on LISD premises, which resulted in # to
5 LISD custodians being terminated

burglaries and thefts through the district. Cornish had previously advised LT Wilkerson that Dr. Smith's const nt
presence and allegedly Sleeping at LISD facilities was suspect, but to no avail. Cornish assisted in preparing e
narrative because the initial responding officers, Thome and LT Wilkerson lacked the knowledge. After Thorte’s
failure to follow-up on the case, after the case was returned for corrections, Cornish was ordered to review
case and correct what ever deficiencies the District Attorney (DA) Office requested. Cornish was able to correct
the deficiencies and the case was accepted by the DA and filed.

November 2006, Cornish files a successful Robbery Charge against severely problem student Resco Willinsjand
Nathan Crawford at the Junior High School, the students were expelled as a result creating a safer and
harmonious learning environment for other studens and teachers.

School. This is withessed by Principal Nivens, Officer Thorne, Assistant Principal Bates. This results in Cornish

guiding Officer Thorne in filing charges against the youth of Assault on a public servant.

November and December 2006, Cornish is assulted by two juveniles while breaking up a fight at the Middie

September 2006, Cornish began Suggesting to both Chief Allen and LT Wilkerson that mandating the entire
police department,in take the online Probable Cause, Search and Seizure classes (Texas Commission on a

Enforcement Standards and Education TECLLOSE) would improve the LISD professional knowledge on the
matters.

April 2007, Comish provided Chief Allen a Copy of completion of both military training certificate 9 Week Coulse
(Civil Affairs Qualification Course) and the Combined Arms Exercise Planning Course.

October 2006, Comish coordinates JPA students for marching the parades, for years also.

responding to cal

, Case filing, neighborhood patrol, and special events

|
November 2005, as conducts daily duties of hall monitoring, investigations, JPA class room instructions,
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|

NOV—-28-67 @2:24 PM CHOICE SPT22303775 P.oS

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| . ;

October 2006 Chief Allen begins begins contacting Cornish regarding Dr. Lewis siashing public safety (police
budget the 2nd ye ir in a row. Allen asked Cornish to contact board members to let them know, Allen stated tq
Cornish that he ha promised Dr. Lewis that he would not contact any board members, but advised Cornish that

slashing of the 3 of budget needed to be communicated to the board members. Cornish spoke Kirland, Morris,

and the husband of one of the board members. | did Speak to Kirkland and Morris on these matters and advised
Chief Allen and LT Wilkerson.

June 2006, Chief Allen begin encouraging Cornish and other Officers to file grievances on pay based on White
Officer Gilliam (highest paid) a police Officer with the same rank and duties as Cornish and other officers but |:
neither the experience, police training, technical knowledge, education, and military training of Cornish.
June 2006, Chief Allen phones Cornish during Cornish's military leave and instructs Comish to help Officer Metin
file the pay grievance. Comish advises Allen that he would but that Comish would advise Austin to file it indi ting
that Gilliam was White and paid more than the blacks historically. Chief Allen disagree with Cornish's analogy,
Chief Allen informed Cornish that Dr. Lewis slashing the police (public safety) budget without the boards
specifically knowing was illegal, Comish did advise Austin on filing the grievance Austin too disagreed with |

Comish's analogy of historical race discrimination because it was not political correct. Austing did not followup on

the grievance and Cornish had to continually push the grievance forward which of which a 30% pay raise’for |:
police officers was' provided.

|
|
|

November 2005 to the present, Cornish has always encouraged all LISD Police employees to follow the guidance
of Chief Allen and LT Wilkerson, Cornish has voiced concerns openly but professionally about officers being |
forced to work overtime without pay, force overtime and ordered compensatory time in place of overtime pay by
Chief Allen and LT Wilkerson. Chief Allen's analogy of restricting the overtime documents being submitted by,
police employees as detrimental to the police budget being increased due to the common practice universally that

monies are not increased in budgets unless a need is shown and one of those identifiable needs being
doucmented overtime pay.

There have been numerous emails sent by Chief Allen and LT Wilkerson that support officers being forced t
work overtime and illegally ordered to submit compensatory time instead of overtime, unwarranted threats being
made of officers being terminated with no reason, allegation, complaints only because of Chief Allens se
feeling towrds the Officers (Thome and Foster). Officer forced to work without pay on bond election campaig
both Chief Allen ard LT Wilkerson. Officers being solicited and encouraged to file grievances by Chief Allen.
Cornish being osctatsized for constantly for conducting military training even though Cornish’s reports were
always completed prior to his military leave. Chief Allen advised Comish that he knew the value of Cornish
previous civil rights suit filed against LISD and used that as a bartering tool to convince Dr. Lewis to hire him pS

Chief of Police (this is something that only Allen and Lewis would know) which | ask be considered as to the
validity of my hostife environment complaint.

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j

Cornish without mbit has became the subject once again by LISD administrators (Chief Allen and LT etch

of retaliation for filing discrimination grievances, Opposing illegal overtime (overtime without pay, overtime being
told what type compensation to take, overtime without pay during bod election campaigns), Cornish's involve
in his Participation of military training.

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NOW-28-67F @2:26 PM CHOICE VTr223G3T7TS P.aG

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ae cftn state to Chief Allen that a Superior is in agreater position to harm a subordinate due to his position
activities that | en one ieee wrong and believe that should | be terminated it will be based on the protective
with the U.S aged in and the previous stigma that LISD and it's officials haveplaced on me. | am in contact

“ - Lab r Department (USERRA LAW) and pay and overtime shouid | be terminated | will seek al |:
avenue of litigating the district and those individuals that have acted improperly under color of their office. ! a not

eons, but ha : provided my orders to H/R Director because | have been ordered to active duty for 437 d ays
the ‘ will complai of any negative action that LISD takes related to my employment. | pray that you can filter out
€ llegal and subjective conduct of both Chief Allen and LT Wilkerson and allow me to continual my employment

in aiding LISD in furtherance of profesionalism. This is faxed to H/R Director Pam Carroll at 972-218-1401 (ana
CC: to my attomy ‘Craig Driskell).

As our president gays often, God Bless You and May God Continue to Bless America '

Harold B. Comish,

Harold Cornish hostile work environment - ‘att.net Mail' Page 1 of 2

Case 3:10-cv-00797-D Document1 § Filed 04/19/10 Page 49o0f59 PagelD 49
YAHOO! MAIL

@ Harold Cornish hostile work environment Thursday, September 13, 2007 10:00 AM
Prams: “Harold Cornish" <hcog@prodigy.net>
Yo: pamelacarroll@lancasterisd.org, pamcarroll@lancasterisd.org
Bee. “CALVIN HOWARD" <calvin_iptf@yahoo.com>

Mrs. Carroll,

| do believe that there is evidence of a hostile work environment within the police department. | have had
conversations with Duncan, Thorne, Foster regarding their fears of being fired or discipline for taking overtime
that they legitimately worked, undergoing opened verbal embarrassing criticism before the other officers,
asking questions during briefing that are relevant to our job, being forced to volunteer our off-duty time to
conduct bond election campaign drives and work the election polls, expected to complete our reports daily
when we have to patrol the city of Lancaster neighbothood immediately after students buses leave making it
impossible to complete our reports within the 8 hour tour. Officer Austin and Thorne have been down as many
as 10 to 15 reports, Gilliam several also, | have been down several at a time. Chief Allen has always
communicated to that he knows his troops and that they are afraid for their jobs and want do are say anything
because they know that know one else will hire them. Should you investigate these matters please inform the
officers that they must be truthful and that audits of their times sheets, computers logons after hours and be
conducted to determine truthfulness etc. | am informing you because based on what Chief Allen communicated
to me about his subordinates they may be reluctant in fully cooperating with an investigation. They have
observed me on several occasions, even Stan Brien during metings with Chief Allen ask legitimate questions
during daily briefings only to be blown off as being disruptive. | first observed this treatment being imposed on
Foster and | advised all the oficers in the presence of Chief Allen and LT Wilkerson that the questions Foster

@ asked were legitimate job related questions and the other officers should have the same questions. Officer
Thorne has initiated numerous conversations with me while we patrol referencing the comments made during
briefings by Chief Allen that he was going to fire her and Eltoro Foster.

| served on active duty in the U. S. Army as a commander over a drill sergeant unit. Drill Sergeants are the
Soldiers that traditionally stood in the faces of young Soldiers yelling and criticizing the young Soldiers. The
Today's Army has changed, this is no longer acceptable, Drill Sergeants have been instructed to speak and not
yell, instruct and train but not criticize. | ensured that all 16 plus Drill Sergeants under my command followed
the Today's Army way.

There would be a defense of ignorance, however, | continually met with both Chief Allen and LT Wilkerson on
their demeaning language and atitude displayed towards their subordinates.

When | went on military leave in 2006, | carried my LISD cell phone with me. It was only after | advise Chief
Allen between December 2006 and February 2007 that | had to go away for mandatory training for 9 weeks
from Feb 2007 to Apr 2007, that he began to talk critical of my military leave, take up my cell phone, deactivate
my email account and take up my keys. Austin, Gilliam, Thorne, Duncan, Wilkerson, and Chief ALlen all
retained these items when they were on leave and Duncan and Gilliam were out of the state. These are
matters of public concern becasue they discriminate against me as a citizen Soldier (Army Reservist). Chief
Allen advised me that he served in the U.S. Armed Forces; therefore, he knows that disparate treatment of
reservists constitute discrimination. Chief Allen and LT Wilkerson both were always provide a hardcopy of my
orders by me that shows my date of departure and date of return. | spoke with technology and they advised me
that in order to deactivate a phone, email or reactivate the same they must receive a written note, letter, or
email.

Please provide me a copy of the written documents that shows each time Chief ALlen, LT Wilkerson or the
eS} LISD Police Department requested that any LISD Officers cell phones, or email accounts be deactivated or
reactivated since February 01, 2007 to the present.

http://us.mc814.mail.yahoo.com/mc/showMessage?sMid=286&fid=%2540S%2540Search&... 2/8/2010

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Harold Cornish hostile work environment - ‘att.net Mail' Page 2 of 2

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@ There are emails on the system sent by LT Wilkerson, Officer Gilliam, and Chief Allen to all LISD Officer
regarding LISD Bond election campaigns with the word "mandatory" for us to work this and this was done
without paying any of use for the force labor.

| once before tried to get the administration to listen to matters of retaliation and my complaint fell on deaf ears.

The complaint regarding te excesive force filed by fleeing/resisting student Todd Brown was video recorded,
and both LT Wilkerson and Chief Allen promised me that they would get me a copy of the video (on numerous
different occasions). They never gave me a copy, they advised me that the machine recorded over the incident
that clears me. | have requested a copy of the written statement of Teacher Schneider who assisted me in
hand cufing the Brown, | have not received the statement, this is open records data, please provide me with a
copy (redacted) of his statement.

Harold Cornish

P.S. | did leave Mrs. Woodberry a handwritten leter requesting for legible copies of the statememnts of Officer
Thorne and Officer Duncan taken by LT Wilkerson, if you review closely these were the most neutral and
truthful statements but Thorne is afraid of being fired, and Duncan is a young new officer, they both require an
interview outside the presence of the police administration and in a diferent setting.

http://us.mc814.mail.yahoo.com/me/showMessage?sMid=286&fid=%2540S8%2540Search&... 2/8/2010

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RE: race discrimination grievance on pay - ‘att.net Mail’ Page 1 of 2
Case 3:10-cv-00797-D Document1 | Filed 04/19/10 Page51of59 PagelD 51

YAHOO! MAIL

Close

@ RE: race discrimination grievance on pay Tuesday, June 19, 2007 1:08 PM
From: “Harold Cornish" <HaroldCornish@lancasterisd.org>

Te: "Pamela Carroil" <PamelaCarroll@lancasterisd.org>

€e: “Sam Allen" <SamAllen@lancasterisd.org>, hcbq@prodigy.net

Chief Allen advise me that he forwarded the grievance to you. If you need anoth copy | will provide it.

From: Pamela Carroll

Sent: Tuesday, June 19, 2007 10:41 AM

To: Harold Cornish

Subject: RE: race discrimination grievance on pay

Ok, please bring the grievance to my office and | will take it forward.

From: Harold Cornish

Sent: Monday, June 18, 2007 7:12 PM
To: Pamela Carroll

Subject: RE: race discrimination grievance on pay

Absolutely not, | have never met with Dr. Lewis on any grievance. To my knowledge DR. Lewis has never
@ addressed any of the police on any grievances.

From: Pamela Carroll

Sent: Monday, June 18, 2007 1:13 PM
To: Harold Cornish

Subject: RE: race discrimination grievance on pay

Was there a conversation with Dr. Lewis in some other setting about this?

From: Harold Cornish

Sent: Monday, June 18, 2007 1:01 PM

To: Pamela Carroll

Subject: RE: race discrimination grievance on pay

yes mam, | left it with Chief Allen just before | went on military leave.

From: Pamela Carroll

Sent: Monday, June 18, 2007 8:25 AM
To: Harold Cornish

Subject: RE: race discrimination grievance on pay

Did you file a formal grievance on this and when?

From: Harold Cornish

http://us.mc814.mail-yahoo.com/mc/showMessage?sMid=293 &fid=%2540S%2540Searché&... 2/8/2010

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RE: race discrimination grievance on pay - ‘att.net Mail' Page 2 of 2

Case 3:10-cv-00797-D Document 1 | Filed 04/19/10 Page52o0f59 PagelD 52

© Sent: Friday, June 15, 2007 7:53 PM
To: Pamela Carroll
Cc: Sam Allen
Subject: RE: race discrimination grievance on pay

| would like to know if there is a status on the grievance.

From: Pamela Carroll

Sent: Friday, June 15, 2007 9:19 AM

To: Harold Cornish

Cc: Sam Allen

Subject: RE: race discrimination grievance on pay

Officer Cornish:
| was not offended at all nor did | feel you were attacking anyone. | do recall the conversation being about the
form used to file a grievance. | don’t recall any status questions. If you are still in need of the grievance form

or have questions about the procedural or substantive contents let me know. Board policy DGBA, local speaks
to the process.

From: Harold Cornish
Sent: Thursday, June 14, 2007 6:33 PM
To: Pamela Carroll
Cc: Sam Allen
@ Subject: race discrimination grievance on pay

During our conversation today, | did inquire about the status of the pay grievance based on race. | want to be
clear on this matter, this (the grievance) is not a personal attack on Officer Gilliam. In order to prove or raise
issues of discrimination, there must be similar circumstances and disparate treatment. You are correct when it
is a pay issue. But for who? When | address any issue, | allow my passion to drive me to articulate in a form
that is comprehensive to any willing arbitrator. | just do not want it misunderstood that | am attacking anyone, |
deal with facts, as | see them, hear them etc. When you are trying to employ change no matter how civil you
will face resistance in highly sophisticated forms.

| that your knowledge and training in employment law far exceeds mine and | respect that and pray that | have
not offended you in clarifying the substance of the grievance(s).

Harold B. Cornish

http://us.mc814.mail.yahoo.com/me/showMessage?sMid=293 &fid=%2540S%2540Search&... 2/8/2010
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FW: race discrimination grievance on pay - ‘ato Mail' Page 1 of 1
Case 3:10-cv-00797-D Document1 |! Filed 04/19/10 Page53o0f59 PagelD 53

‘YAHOO!, MaiL

@ FW: race discrimination grievance on pay Thursday, June 14, 2007 6:35 PM
Fram: “Harold Cornish" <HaroldCornish@lancasterisd.org>
Te: “Pamela Carroll” <PamelaCarroll@lancasterisd.org>
Cc: "Sam Allen” <SamAllen@iancasterisd.org>, hcbg@prodigy.net

From: Harold Cornish

Sent: Thursday, June 14, 2007 6:33 PM

To: Pamela Carroll

Ce: Sam Allen

Subject: race discrimination grievance on pay

During our conversation today, | did inquire about the status of the pay grievance based on race. | want to be
clear on this matter, this (the grievance) is not a personal attack on Officer Gilliam. In order to prove or raise
issues of discrimination, there must be similar circumstances and disparate treatment. You are correct when it
is a pay issue. But for who? When | address any issue, | allow my passion to drive me to articulate in a form
that is comprehensive to any willing arbitrator. | just do not want it misunderstood that | am attacking anyone, |
deal with facts, as | see them, hear them etc. When you are trying to employ change no matter how civil you
will face resistance in highly sophisticated forms.

| that your knowledge and training in employment law far exceeds mine and | respect that and pray that | have
@ not offended you in clarifying the substance of the grievance(s).

Harold B. Cornish

PS | contacted you after | was informed by Chief Allen that it was ok.

http://us.mc8 14.mail.yahoo.com/mc/showMessage?sMid=295& fid=%25408S%2540Search&... 2/8/2010

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Fwd: RE: status of your checking on whether a copy of Comish's unredacted orders or ne... Page 1 of 2
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“YAHOO! MAIL

@ Fwd: RE: status of your checking on whether a copy of Cornish's unredacted orders or needed
Friday, October 19, 2007 7:54 AM
“Harold Cornish" <hcbg@prodigy.net>
‘Tu "dexter caston” <castonde@ar-usacapoc.soc.mil>
i File (10KB)

RE: statu...

Note: forwarded message attached.

Forwarded Message: RE: status of your checking on whether a copy of Cornish's unredacted orders or
needed

RE: status of your checking on whether a copy of Cornish's unredacted orders or needed
Thursday, October 18, 2007 8:56 AM

ms “Pamela Carroll* <PamelaCarroll@lancasterisd.org>
e: “Harold Cornish" <hcbg@prodigy.net>

From: Harold Cornish [mailto:hcbg@prodigy.net]

Sent: Thursday, October 18, 2007 8:10 AM

To: Pamela Carroll

Subject: RE: status of your checking on whether a copy of Cornish's unredacted orders or needed

Thanks,

Please forgive me for asking this question, but do I need to still provide copies of my orders (which
were previously provided to both Chief Allen and LT Wilkerson).

Pamela Carroll <PamelaCarroll@lancasterisd.org> wrote:

From: Harold Cornish [mailto:hcbg@prodigy.net]

Sent: Monday, October 15, 2007 7:50 AM

To: Pamela Carroll; pamcarroll@lancasterisd.org; dexter caston

Subject: status of your checking on whether a copy of Cornish's unredacted orders or needed

@ You advised me that you would check with the attorney to determine if there was a need for
“my providing Chief Allen with a copy of my orders showing my salary. This is an attempt

http://us.mc8 14.mail.yahoo.com/mc/showMessage?sMid=275&fid=%2540S%2540Search&... 2/8/2010
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Fwd: RE: status of your checking on whether a copy of Cornish's unredacted orders or ne... Page 2 of 2
Case 3:10-cv-00797-D Document 1 | Filed 04/19/10 Page 550f59 PagelD 55

© to check the status on this matter.

I have not yet received copies of my orders since I returned, The computer system has been
down I have been told by Major Caston.

Harold Cornish
Poilce Officer
LISD Police Department

http://us.mc8 14.mail.yahoo.com/mc/showMessage?sMid=275&fid=%2540S%2540Search&... 2/8/2010

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* Case 3:10-cv-00797-D Document1 Filed 04/19/10 Page56o0f59 PagelD 56
O'HANLON, McCo.ttom & DEMERATH

ATTORNEYS AND COUNSELORS AT LAW

808 WEST AVENUE
AUSTIN, TEXAS 78701
TELEPHONE: (512) 494-9949
FACSIMILE: (512) 494-9919

KeEvIN O’HANLON
CERTIFIED. Cri. APPELLATE
CERTIFIED, Civit TRIAL

Lestig McCoLtom
CertiFiep, Crvit. APPELLATE
CERTIFIED, LABOR AND EMPLOYMENT September 4, 2009

Texas Boarp oF LEGAL SPECIALIZATION

JUSTIN DEMERATH

JOHN-PETER LUND
jplund@808west.com

[Via facsimile to: (512) 463-2092]
The Honorable Greg Abbott
Attorney General of Texas

Open Records Division

P.O. Box 12548

Austin, Texas 78711-2548

Re: Request for Public Information Determination, as to whether the a school district must
produce, pursuant to a public information request, an evaluation made by a psychologist
employed by the district, of a police officer employed by the district

Dear General Abbott,

As legal counsel for Lancaster Independent School District (hereafter “Lancaster ISD” or
“District”), I am requesting an opinion pursuant to the Texas Public Information Act (“Act”),
Texas Government Code §552.301, regarding a request received by the District on August 25,
2009, from Leatrice Green, a copy of which is attached as Exhibit 1. This is the “10 day” letter,
which is timely since the request was received by the District on August 25, 2008. The District
will submit its “15 day letter” on or before September 15, 2008, as required by the Act, with full
briefing and any and all additional relevant documents or sample documents.

Harold Cornish was employed as an officer by Lancaster ISD’s Police Department. Stan
Brein was employed by the District as Coordinator for Student Support Services and the
Lancaster ISD Police School Psychologist. On June 14, 2007, Stan Brien created a report
evaluating Officer Cornish as part of a routine review of District Police Department staff.

In a request dated August 25, 2009 (attached) Leatrice Green requested a copy of the
report created by Mr. Brein. The report contains information that should be considered
confidential and personal and therefore covered by the exceptions to mandatory disclosure of
public information contained in Texas Gov’t Code 552.101 and 552.102. Leatrice Green has not
been designated as the agent of Mr. Cornish. In addition, we believe that the information
requested should be excepted from disclosure under the litigation exception contained in Texas

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€ 3:10-cy-00797-D _ Document 1 | Filed 04/19/10 Page57of59 PagelD 57
PES Trfovmation pinion Request

September 4, 2009

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Gov’t Code 552.103 because it relates to litigation of a civil or criminal nature to which the state
or a political subdivision is or may be a party.

Therefore, Lancaster ISD requests the Attorney General to render an opinion as to
whether the report produced by Mr. Brein must be disclosed to the requestor, Leatrice Green.
Thank you for your attention to this matter. :

Sincerely,~

Cc: Pamela Carroll
Leatrice Green
Harold Cornish

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Case 3:10-cv-00797-D Document 1

From: herbert green [mailto:owe0412@sbcglobal.net]}
Sent: Tuesday, August 25, 2009 8:30 AM

To: Pamela Carroll

Subject: Open Records Request

Date: 8-25-09

Mrs. Carroll,

Please provide me a copy of the report that Stan Brien created in reference to LISD Police
Officer Harold Cornish. I may be reached at 836 Vince Lane DeSoto, Texas 75115.

Leatrice Green

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CERTIFICATE OF SERVICE

Plaintiff Cornish certify that the Defendants were served with a true and correct copy of the lawsuit and
Appendices on April 20, 2010 to the following Defendants as follow:

1. For Defendant Lancaster Independent School District and/or Lancaster Independent School District
Board of Trustees to Board President Carolyn Morris at 422 S. Centre Avenue Lancaster, Texas 75146
by U.S. Postal Certified Mail Receipt #70063450000226127821.

2. For Defendant Former Superintendent Larry Lewis at 1208 E. Pleasant Run Rd Cedar Hill Texas 75104-
4100 by U.S. Postal Certified Mail Receipt #70063450000226127838.

3. To Defendant Lancaster Independent School District Interim Superintendent Dana Marable at 422 S.
Centre Avenue Lancaster, Texas 75146 by U.S. Postal Certified Mail Receipt #70063450000226127845.

4. To Defendant Lancaster independent School District Assistant Superintendent Eugene Young at 422 S.
Centre Avenue Lancaster, Texas 75146 by U.S. Postal Certified Mail Receipt #70063450000226127852.

5. To Defendant Lancaster Independent School District Human Resource Director Pamela Carroll at 422 S.
Centre Avenue Lancaster, Texas 75146 by U.S. Postal Certified Mail Receipt #70063450000226127869.

6. To Defendant Lancaster Independent School District Attorney Cynthia Hill at 306 W. 7" Street Suite
1045 Fort Worth, Texas 76102 by U.S. Postal Certified Mail Receipt #70063450000226127876.

7. To Defendant Lancaster Independent School District Attorney Leslie McCollom and John Peter Lund at
808 West Avenue Austin, Texas 78701, by U.S. Postal Certified Mail Receipt #70063450000226127883.

8. To Defendant Lancaster independent School District Attorney John Peter Lund at 808 West Avenue
Austin, Texas 78701, by U.S. Postal Certified Mail Receipt #70080150000039888285

9. To Defendant Lancaster independent School District Former Chief of Police Samuel Allen at 1653 S.
Duncanville Road Cedar Hill, Texas 75104 by U.S. Postal Certified Mail Receipt
#70063450000226127890.

10. To Defendant Lancaster Independent School District Acting Police Chief Keith Wilkerson at 422 S.
Centre Avenue Lancaster, Texas 75146 by U.S. Postal Certified Mail Receipt #70063450000226127814.

11. Defendant Former Lancaster Independent School District Student Psychologist (NON -PH.D.) Stanley
Brein 405 Pecan Hollow Drive Red Oak Texas 75154-4725 by U.S. Postal Certified Mail Receipt
#70080150000039888247.

Seda pln foo 19, 2010

Harold Cornish PRO SE PLAINTIFF DATE
601 Nora Lane DeSoto, Texas 75115

Primary Phone 972-352-9187

Secondary Phone 972-230-3775

Email Address.

